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                  UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF MICHIGAN


ALLSTATE INSURANCE COMPANY;
ALLSTATE PROPERTY AND CASUALTY C.A. No. _______________
INSURANCE COMPANY; ALLSTATE
FIRE AND CASUALTY INSURANCE
COMPANY; ESURANCE INSURANCE
COMPANY; and ESURANCE PROPERTY
AND    CASUALTY      INSURANCE
COMPANY,                       Demand for Jury Trial

                        Plaintiffs,

v.

APPLIED REHAB & PHYSICAL
THERAPY LLC d/b/a APPLIED
REHAB; ELITE CHIROPRACTIC
CENTER, P.C.; CORE HEALTH PLLC.;
STRAIGHTWAY TRANSPORTATION
LLC; HUSSEIN A. HURAIBI, MD,
PLLC d/b/a HURAIBI PAIN & REHAB
INSTITUTE; HS MANAGEMENT LLC;
KALLIL     KAZAN,   D.C.;  NAIM
KHANAFER, D.C.; NAIEL SALAMEH,
D.C.; MOHAMAD KAZAN; and
HUSSEIN HURAIBI, M.D.,

                        Defendants.


                               COMPLAINT

     Plaintiffs Allstate Insurance Company, Allstate Property and Casualty

Insurance Company, Allstate Fire and Casualty Insurance Company, Esurance

Insurance Company, and Esurance Property and Casualty Insurance Company

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(hereinafter, “Allstate” and/or “plaintiffs”), by their attorneys SMITH & BRINK,

hereby allege as follows.

I.     INTRODUCTION

       1.    This is a case about medical clinics, physical therapy clinics,

chiropractic clinics, a transportation company, and the owners, managers, agents,

and representatives of the same who abused the benefits available under the

Michigan No-Fault Act, Mich. Comp. Laws § 500.3101, et seq. and Allstate policies

of insurance, by engaging in a scheme to defraud Allstate by submitting and causing

to be submitted false and fraudulent medical records, bills, and invoices through

interstate wires and the U.S. Mail seeking payment under the No-Fault Act for

treatment and services that were not actually rendered and, if performed at all, were

medically unnecessary, unlawful, and were fraudulently billed.

       2.    Defendants Applied Rehab & Physical Therapy LLC d/b/a Applied

Rehab (“Applied Rehab”); Elite Chiropractic Center, P.C. (“Elite Chiropractic”);

Core    Health   PLLC       (“Core   Health”);   Straightway   Transportation   LLC

(“Straightway”); Hussein A. Huraibi, MD, PLLC d/b/a Huraibi Pain & Rehab

Institute (“Huraibi Pain & Rehab Institute”); HS Management LLC (“HS

Management”) (collectively, the “Defendant Entities”); Kallil Kazan, D.C. (“Kallil

Kazan”); Naim Khanafer, D.C. (“Khanafer”); Naiel Salameh, D.C. (“Salameh”);

Mohamad Kazan (“Mo Kazan”); and Hussein Huraibi, M.D. (“Huraibi”)



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(collectively, with the Defendant Entities, the “defendants”) each conspired to, and

did in fact, defraud Allstate by perpetuating an insurance billing fraud scheme in

violation of state and federal law.

      3.      The purpose of the fraudulent scheme devised and implemented by the

defendants was to generate claims to, and collect payments from, Allstate pursuant

to Michigan’s No-Fault Act for the purported treatment of patients who had

allegedly been involved in motor vehicle accidents.

      4.      The defendants engaged in a fraudulent scheme to consistently bill

Allstate for treatment or services that were not actually provided to patients and

manufactured documents to make it appear as though patients received services

when, in fact, no such services were rendered.

      5.      To achieve their fraudulent objective, the defendants unlawfully and

improperly solicited patients to their clinics.

      6.      On occasions when the treatment was actually rendered, the defendants

transported patients to and from appointments using an unlicensed medical

transportation company.

      7.      The defendants engaged in the fraudulent billing practice of

unbundling.

      8.      The defendants also charged excessive amounts that far exceeded

reasonable and customary rates in express violation of the No-Fault Act.



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      9.      Allstate’s investigation of claims submitted to it by and on behalf of the

defendants revealed treatment that was not tailored to the clinical needs of each

patient, but rather was performed (if at all) solely to generate profit for the

defendants.

      10.     Allstate reasonably relied to its detriment on the bills and medical

documentation submitted to it by and on behalf of the defendants.

      11.     Each of the defendants named herein conspired with one another to

accomplish and to further the objectives of their fraudulent scheme.

      12.     All of the acts and omissions of the defendants, described throughout

this Complaint, were undertaken intentionally.

      13.     The insurance fraud scheme perpetrated by the defendants was

designed to, and did in fact, result in the payment of No-Fault benefits from Allstate

to and on behalf of the defendants.

      14.     In each claim at issue in this Complaint for which Allstate is seeking

damages, an Allstate automobile insurance contract applicable in the State of

Michigan was the platform upon which the defendants perpetrated their fraudulent

scheme.

      15.     By this Complaint, and as detailed in each count set out below, Allstate

brings this action for: (1) violations of the federal Racketeer Influenced and Corrupt




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Organizations (RICO) Act, 18 U.S.C. § 1962(c) and (d); (2) common law fraud; (3)

civil conspiracy; (4) payment under mistake of fact; and (5) unjust enrichment.

      16.    Allstate’s claim for compensatory damages includes: (1) payments

made by Allstate to the Defendant Entities in reliance upon the false representations

that they were eligible to receive payment under the Michigan No-Fault Act, (2)

treble damages, (3) statutory interest, (4) costs, including but not limited to the costs

of claims handling and the cost of investigation to uncover the fraudulent scheme

perpetrated by the defendants, and (5) attorney’s fees.

      17.    Allstate also seeks a declaration pursuant to 28 U.S.C. § 2201 that the

defendants have no right to receive payment for any previously-denied and pending

bills submitted to Allstate whereas (1) the defendants billed Allstate for services that

were not rendered; (2) the defendants billed Allstate for services and treatment that

were not reasonably necessary; (3) the defendants billed Allstate for unlawful

services and treatment that were designed and implemented solely to increase their

profits; and (4) the defendants engaged in a pervasive pattern and practice of

submitting false medical documentation through interstate wires and the U.S. Mail

demanding payment from Allstate.

      18.    As a result of their fraudulent acts, Allstate has paid the defendants in

excess of $1,334,135 related to the patients at issue in this Complaint.




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II.   PARTIES

      A.      PLAINTIFFS

      19.     Allstate Insurance Company, Allstate Fire and Casualty Insurance

Company, and Allstate Property and Casualty Insurance Company are each

companies duly organized and existing under the laws of the State of Illinois.

      20.     Allstate Insurance Company, Allstate Fire and Casualty Insurance

Company, and Allstate Property and Casualty Insurance Company each have their

respective principal places of business in Northbrook, Illinois.

      21.     Esurance Insurance Company and Esurance Property and Casualty

Insurance Company are companies duly organized and existing under the laws of

the State of Wisconsin.

      22.     Esurance Insurance Company and Esurance Property and Casualty

Insurance Company each have their principal places of business in San Francisco,

California.

      23.     At all times relevant to the allegations contained in this Complaint, the

plaintiffs were authorized to conduct business in the State of Michigan.

      B.      DEFENDANTS

              1.    Applied Rehab & Physical Therapy LLC d/b/a Applied
                    Rehab

      24.     Applied Rehab & Physical Therapy LLC d/b/a Applied Rehab is a

limited liability company organized under the laws of the State of Michigan.

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      25.    At all relevant times, Applied Rehab was owned and controlled by

Kallil Kazan, Khanafer, and Salameh.

      26.    Applied Rehab’s principal place of business is located in Dearborn,

Michigan.

      27.    Applied Rehab illegally solicited patients and billed Allstate for

treatment and services that were not rendered, were medically unnecessary (to the

extent treatment was rendered at all), and were billed at unreasonable rates in relation

to several patients at issue herein, including the patients set out in Exhibit 1.

             2.     Elite Chiropractic Center, P.C.

      28.    Elite Chiropractic Center, P.C. is a professional corporation

incorporated under the laws of the State of Michigan.

      29.    At all relevant times, Elite Chiropractic was owned and controlled by

Salameh.

      30.    Elite Chiropractic’s principal place of business is located in Dearborn,

Michigan.

      31.    Elite Chiropractic illegally solicited patients and billed Allstate for

treatment and services that were medically unnecessary and were billed at

unreasonable rates in relation to several patients at issue herein, including the

patients set out in Exhibit 2.




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             3.      Core Health PLLC

      32.    Core Health PLLC is a professional limited liability company

organized under the laws of the State of Michigan.

      33.    At all relevant times, Core Health was owned and controlled by Kallil

Kazan and Khanafer.

      34.    Core Health’s principal place of business is located in Dearborn,

Michigan.

      35.    Core Health illegally solicited patients and billed Allstate for treatment

and services that were not rendered, were unlawful, were medically unnecessary,

and were billed at unreasonable rates in relation to several patients at issue herein,

including the patients set out in Exhibit 3.

             4.      Straightway Transportation LLC

      36.     Straightway Transportation LLC is a limited liability company

organized under the laws of the State of Michigan.

      37.    At all relevant times, Straightway was owned and controlled by Mo

Kazan.

      38.    Straightway’s principal place of business is located in Dearborn

Heights, Michigan.




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      39.    Straightway billed Allstate for services that were not rendered, were

unlawful and unnecessary, and were billed at unreasonable rates in relation to several

patients at issue herein, including the patients set out in Exhibit 4.

             5.     Hussein A. Huraibi, MD, PLLC d/b/a Huraibi Pain & Rehab
                    Institute

      40.    Hussein A. Huraibi, MD, PLLC d/b/a Huraibi Pain & Rehab Institute

is a professional limited liability company organized under the laws of the State of

Michigan.

      41.    At all relevant times, Huraibi Pain & Rehab Institute was owned and

controlled by Huraibi.

      42.    Huraibi Pain & Rehab Institute’s principal place of business is located

in Dearborn, Michigan.

      43.    Huraibi Pain & Rehab Institute issued medically unnecessary physical

therapy prescriptions and disability certificates, and billed Allstate for services that

were not rendered, were medically unnecessary, and were billed at unreasonable

rates in relation to several patients at issue herein, including the patients set out in

Exhibit 5.

             6.     HS Management LLC

      44.    HS Management LLC is a limited liability company organized under

the laws of the State of Michigan.




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         45.   At all relevant times, HS Management was owned and controlled by

Huraibi.

         46.   HS Management’s principal place of business is located in Dearborn,

Michigan.

         47.   HS Management issued medically unnecessary physical therapy

prescriptions and disability certificates, and billed Allstate for services that were not

rendered, were medically unnecessary, and were billed at unreasonable rates in

relation to several patients at issue herein, including the patients set out in Exhibit 6.

               7.    Kallil Kazan, D.C.

         48.   Kallil Kazan, D.C. is a resident and citizen of the State of Michigan.

         49.   At all relevant times, Kallil Kazan owned and controlled Applied Rehab

and Core Health.

         50.   At all relevant times, Kallil Kazan participated in the operation and

control of Applied Rehab and Core Health as the treating physician identified in the

bills submitted to Allstate, including bills relating to patients set out in Exhibits 1

and 3.

         51.   As the owner of Applied Rehab and Core Health, Kallil Kazan was

responsible for the unlawful, medically unnecessary, and unreasonably charged

treatment at issue in this Complaint, including the patients set out in Exhibits 1 and

3.



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      52.    As discussed herein, Kallil Kazan also participated in the operation of

Elite Chiropractic, Straightway, Huraibi Pain & Rehab Institute, and HS

Management.

             8.     Naim Khanafer, D.C.

      53.    Naim Khanafer, D.C. is a resident and citizen of the State of Michigan.

      54.    At all relevant times, Khanafer owned and controlled Applied Rehab

and Core Health.

      55.    At all relevant times, Khanafer participated in the operation and control

of Applied Rehab and Core Health as the treating physician identified in the bills

submitted to Allstate, including bills relating to patients set out in Exhibits 1 and 3.

      56.    As the owner of Applied Rehab and Core Health, Khanafer was

responsible for the unlawful, medically unnecessary, and unreasonably charged

treatment at issue in this Complaint, including the patients set out in Exhibits 1 and

3.

      57.    As discussed herein, Khanafer also participated in the operation of Elite

Chiropractic, Straightway, Huraibi Pain & Rehab Institute, and HS Management.

             9.     Naiel Salameh, D.C.

      58.    Naiel Salameh, D.C. is a resident and citizen of the State of Michigan.

      59.    At all relevant times, Salameh owned and controlled Applied Rehab

and Elite Chiropractic.



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         60.   At all relevant times, Salameh participated in the operation and control

of Applied Rehab and Elite Chiropractic as the treating physician identified in the

bills submitted to Allstate, including bills relating to patients set out in Exhibits 1

and 2.

         61.   As the owner of Applied Rehab and Elite Chiropractic, Salameh was

responsible for the unlawful, medically unnecessary, and unreasonably charged

treatment at issue in this Complaint, including the patients set out in Exhibits 1 and

2.

         62.   As discussed herein, Salameh also participated in the operation of Core

Health, Straightway, Huraibi Pain & Rehab Institute, and HS Management.

               10.   Mohamad Kazan

         63.   Mohamad Kazan is a resident and citizen of the State of Michigan.

         64.   At all relevant times, Mo Kazan owned and controlled Straightway.

         65.   As the owner and manager of Straightway, Mo Kazan submitted bills

to Allstate for services that were not rendered and, to the extent any services were

actually rendered, were unlawful and were billed at unreasonable rates in relation to

several patients at issue herein, including the patients set out in Exhibit 4.

         66.   As discussed herein, Mo Kazan also participated in the operation of

Applied Rehab, Elite Chiropractic, Core Health, Huraibi Pain & Rehab Institute, and

HS Management.



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              11.    Hussein Huraibi, M.D.

       67.    Hussein Huraibi, M.D. is a resident and citizen of the State of Michigan.

       68.    At all relevant times, Huraibi owned and controlled Huraibi Pain &

Rehab Institute and HS Management.

       69.   As owner of Huraibi Pain & Rehab Institute and HS Management,

Huraibi was responsible for the unlawful, medically unnecessary, and unreasonably

charged services at issue in this Complaint, including the patients set out in Exhibits

5 and 6.

       70.   At all relevant times, Huraibi participated in the operation and control

of Huraibi Pain & Rehab Institute and HS Management as the treating physician

identified in the bills submitted to Allstate, including bills relating to patients set out

in Exhibits 5 and 6.

       71.   As discussed herein, Huraibi also participated in the operation of

Applied Rehab, Elite Chiropractic, Core Health, and Straightway.

III.   JURISDICTION AND VENUE

       72.    Pursuant to 28 U.S.C. § 1331, this Court has jurisdiction over this action

relating to the claims brought by the plaintiffs under 18 U.S.C. § 1961 et seq. because

they arise under the laws of the United States.




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      73.    Pursuant to 28 U.S.C. § 1332, this Court has jurisdiction over this action

because the amount in controversy, exclusive of interest and costs, exceeds $75,000

against each defendant and because it is between citizens of different states.

      74.    Supplemental jurisdiction over the plaintiffs’ state law claims is proper

pursuant to 28 U.S.C. § 1367.

      75.    Venue is proper pursuant to 28 U.S.C. § 1391(b)(2) whereas the vast

majority of the acts at issue in this Complaint were carried out within the Eastern

District of Michigan.

IV.   BACKGROUND ON THE DEFENDANTS’ FRAUDULENT SCHEME

      76.    Kallil Kazan and Khanafer purchased 4953 Schaefer Road in Dearborn,

Michigan on or about February 27, 2009.

      77.    Shortly thereafter, on or about March 23, 2009, Salameh incorporated

Elite Chiropractic.

      78.    Once Elite Chiropractic was operational, Salameh, Khanafer, and Kallil

Kazan embarked on a comprehensive scheme to solicit motor vehicle accident

victims to bill for treatment that was improperly influenced by factors other than

legitimate medical judgment in order to exploit the benefits available under

Michigan’s No-Fault Act.




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      79.    By and through Elite Chiropractic, Salameh, Khanafer, and Kallil

Kazan billed Allstate for excessive and unnecessary chiropractic treatment, if any

treatment was rendered at all.

      80.    In order to obtain patients, Kallil Kazan and Khanafer used the alias

“David Maskalaski” and a fictitious entity named “Auto Assurance” to purchase

motor vehicle accident reports.

      81.    Kallil Kazan and Khanafer then used these reports to solicit motor

vehicle accident victims in order for Elite Chiropractic to bill for treatment that

persons involved in motor vehicle accidents would not have obtained but for the

improper contact by the defendants.

      82.    The phone number listed on Auto Assurance’s application to vendors

belonged to Kallil Kazan.

      83.    Additionally, the address for Auto Assurance on the application is the

registered address for entities owned and controlled by Kallil Kazan and Khanafer,

including Rotana Holdings, LLC (“Rotana Holdings”).

      84.    Between May 2012 and February 2013, Auto Assurance purchased

more than $170,000 worth of motor vehicle accident reports from just one vendor.

      85.    Mo Kazan—Kallil Kazan’s brother—purchased these motor vehicle

accident reports using cashier’s checks.




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      86.      The defendants then reestablished their fraudulent scheme in Dearborn

at a new location: 13700 Michigan Avenue.

      87.      NMK Holdings LLC, which is owned and controlled by Khanafer,

purchased 13700 Michigan Avenue in May 2013.

      88.      On or about July 23, 2014, Khanafer organized defendant Core Health,

an entity that bills for physical therapy and chiropractic treatment purportedly

performed at 13700 Michigan Avenue.

      89.      Defendants Salameh and Kallil Kazan submitted bills seeking payment

for treatment purportedly performed at Core Health’s 13700 Michigan Avenue

location.

      90.      On or about August 7, 2015, Mo Kazan, Kallil Kazan’s brother,

organized Straightway and added the transportation company to the defendants’

fraudulent network.

      91.      Rotana Holdings faxed Straightway’s Articles of Organization to the

State of Michigan.

      92.      Rotana Holdings’s registered address is the same as Elite Chiropractic,

and Kallil Kazan is Rotana Holdings’s resident agent.

      93.      The defendants used Straightway to bill for transporting patients to

Core Health.




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      94.       By and through Core Health, Salameh, Khanafer, and Kallil Kazan

billed Allstate for excessive and unnecessary chiropractic treatment and physical

therapy, if any treatment was rendered at all.

      95.       On or about December 7, 2015, Khanafer organized defendant Applied

Rehab, using “13702 Michigan Avenue” as its registered address in an attempt to

hide its connection to Elite Chiropractic.

      96.       Although Applied Rehab’s registered address is 13702 Michigan

Avenue, it is actually in the same building as Elite Chiropractic at 13700 Michigan

Avenue.

      97.       Kallil Kazan testified that Applied Rehab and Elite Chiropractic share

office space:

                Q.    Does Applied Rehab share office space with Elite
                      Chiropractic?

                A.    Well, yes.

      98.       Salameh further testified that Elite Chiropractic rents its office space

from Applied Rehab:

                Q.    And in terms of an agreement, is it some kind of
                      rental agreement that you have with Applied for
                      your space and your offices?

                A.    Yes.




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      99.    In addition, patients have stated to Allstate that Applied Rehab and Elite

Chiropractic coordinate treatment, often seeing the same patients during the same

appointment.

      100. Patients have also confirmed to Allstate that they sign in for

chiropractic treatment and physical therapy in the same place.

      101.     Beginning in January 2016, Salameh, Khanafer, and Kallil Kazan

stopped billing Allstate through Core Health and began billing Allstate through Elite

Chiropractic and Applied Rehab.

      102. Patients at Core Health were unaware that bills were now being

submitted under an entirely different entity name.

      103. For example, Patient J.W. (Claim No. 0389131368) 1 testified that she

had never heard of Elite Chiropractic but confirmed that she continued treating with

Salameh:

             Q.     What about Elite Chiropractic, are you still going
                    there?

             A.     Who?

             Q.     According to the records I have, you went to a place
                    called Elite Chiropractic in Dearborn. Do you
                    remember going there?

             A.     No.


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  To protect the confidentiality of the patients at issue herein, Allstate hereinafter
refers to each by his or her initials and Allstate claim number.

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             Q.    Let me just make sure I’m not mistaken. You don’t
                   remember seeing Dr. Naiel Salameh or Salameh, S-
                   a-l-a-m-e-h, N-a-i-e-l?

             A.    That’s the same man that’s from Core.

             Q.    I see. So Core is Elite Chiropractic?

             A.    Yes.

      104. Straightway continued to bill Allstate for allegedly transporting patients

to Elite Chiropractic and Applied Rehab.

      105. However, Straightway’s ability to submit bills to insurers for medical

transportation is wholly dependent upon the patient first being given a disability

certificate from a physician indicating that the patient is medically disabled from

driving.

      106. Likewise, under Michigan law, for dates of service before January 1,

2015, physical therapy had to be prescribed by an individual licensed to practice

dentistry, medicine, osteopathic medicine and surgery, or podiatric medicine and

surgery. Mich. Comp. Laws § 333.17820(1). For dates of service after January 1,

2015, physical therapy treatment must be prescribed by a licensed medical or

osteopathic doctor if such treatment exceeds twenty-one (21) days or ten (10) visits.

Mich. Comp. Laws. § 333.17820(1). Thus, the defendant physical therapy clinics

and their owners required a steady source to write prescriptions for physical therapy

that allowed them to bill Allstate for months and years of excessive treatment.



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      107. Accordingly, the defendants incorporated Huraibi into their fraudulent

scheme.

      108. Salameh, Khanafer, and Kallil Kazan entered into a quid pro quo

arrangement with Huraibi in order to obtain fraudulent disability certificates and

physical therapy prescriptions.

      109. Huraibi provided disability certificates to patients as a matter of course,

and nearly all of the patients at issue in this Complaint were supposedly medically

disabled from driving, falsely justifying Straightway’s bills for non-emergency

medical transportation services.

      110. Huraibi further provided the physically therapy prescriptions that

allowed Applied Rehab and Core Health to continue to bill Allstate for medically

unnecessary physical therapy.

      111. In return, Salameh, Khanafer, and Kallil Kazan referred patients to

Huraibi for medically unnecessary pain management services.

      112. Thus, Huraibi was able to bill Allstate for allegedly evaluating patients

for disability and physical therapy, as well as allegedly rendering unnecessary

treatment himself.

      113. Together, the defendants engaged in a comprehensive scheme to bill

Allstate for as much treatment as possible, without regard to medical necessity or

established standards of care.



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V.    BILLING FOR SERVICES NOT RENDERED

      114. In pursuit of their objective of maximizing payment by Allstate, the

defendants faxed and mailed bills seeking payment for treatment and services that

were not actually rendered.

      115. All of the claims submitted by the defendants to Allstate through

interstate wires and the U.S. Mail seeking payment for treatment that never actually

occurred are fraudulent.

      116. Allstate is not required to pay the defendants for services that were

never provided to patients at issue in this Complaint and is entitled to recover any

payments tendered to the defendants in reliance on their fraudulent billing for

services not rendered.

      A.     PHYSICAL THERAPY NOT RENDERED

      117. Applied Rehab and Core Health submitted bills to Allstate for physical

therapy that was never rendered to patients at issue in this Complaint.

      118. As discussed further below, Applied Rehab and Core Health billed for

nearly identical courses of treatment for almost every patient, regardless of their age,

injury, comorbidities, and medical history.

      119. The majority of the treatments and modalities used in these protocol

treatments were timed services for which each unit billed to an insurer represents

fifteen (15) minutes of treatment.



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      120. The American Medical Association (“AMA”) coding rules require a

minimum of eight (8) minutes of treatment be performed in order to bill for a single

unit of a timed service.

      121. To properly bill for multiple units of a timed service, a provider must

perform the full fifteen (15) minutes of service for the first (and any subsequent)

unit, and at least eight (8) minutes of service for the second (or subsequent) unit.

      122. Thus, in order to properly bill for three (3) units of a timed service, a

minimum of thirty-eight (38) minutes of the timed service must be performed.

      123. Applied Rehab and Core Health submitted bills for timed therapeutic

exercises that failed to meet the AMA requirements.

      124. Current Procedural Terminology (“CPT”) Code 2 97110 indicates

therapeutic procedures performed on one or more areas of the body, with each billed

unit representing fifteen (15) minutes of treatment.

      125. As explained above, in order to properly bill for three (3) units of CPT

Code 97110, a minimum of thirty-eight (38) minutes of the therapeutic procedure

must be performed.




2
 CPT Codes are published annually by the AMA to facilitate the efficient processing
of healthcare charges by insurance carriers and other private and governmental
healthcare payors.

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       126. Applied Rehab and Core Health repeatedly billed Allstate for three (3)

units of CPT Code 97110 for patients who received less than thirty-eight (38)

minutes of therapeutic exercises.

       127. For example, in relation to patient M.A. (Claim No. 0378562672), Core

Health billed Allstate for three (3) units of CPT Code 97110 on thirty-nine (39) dates

of service from October 5, 2015 through December 30, 2015.

       128. Core Health never rendered the minimum thirty-eight (38) minutes of

therapeutic exercises on any of these dates of service.

       129. After the defendants stopped billing through Core Health and switched

to Applied Rehab in January 2016, Applied Rehab then billed Allstate for three (3)

units of CPT Code 97110 on nineteen (19) dates of service between January 13, 2016

and April 1, 2016 related to M.A.

       130. Applied Rehab never rendered the minimum thirty-eight (38) minutes

of therapeutic exercises on any of these dates of service.

       131. Applied Rehab and Core Health routinely billed Allstate for more time

than was actually spent allegedly rendering treatment, as exemplified by patient

M.A.

       132. In addition, Applied Rehab and Core Health failed to consistently

record the amount of time purportedly spent performing each timed service.




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       133. It is improper to submit bills for timed services when the time spent for

each treatment is not accurately recorded.

       134. Applied Rehab’s and Core Health’s failure to measure and record the

time spent performing treatment was intended to conceal the fact that they did not

perform treatment for the length of time required to bill Allstate.

       135. Several patients of Applied Rehab and Core Health reported to Allstate

that their treatments did not last long enough to support the number of units billed.

       136. In fact, some patients have confirmed that they were not actually

present at Applied Rehab or Core Health on dates for which physical therapy was

billed to Allstate.

       137. For example, Core Health charged Allstate $3,640.00 for treatment

allegedly rendered to patient W.B. (Claim No. 0389131368) and patient L.B. (Claim

No. 0389131368), who are both minors.

       138. However, their mother told Allstate that neither W.B. nor L.B. treated

at Core Health.

       139. Patient S.W. (Claim No. 0389131368) testified that her appointments

at Applied Rehab never lasted more than thirty (30) minutes.

       140. Nonetheless, Applied Rehab billed Allstate for treatment relating to

S.W. lasting well over thirty (30) minutes.




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      141. For example, on February 17, 2016, Applied Rehab billed Allstate for

53 minutes of treatment as follows: fifteen (15) minutes of hot/cold packs, fifteen

(15) minutes of electric stimulation (“e-stim”), and twenty-three (23) minutes of

therapeutic exercises.

      142. Likewise, patient D.C. (Claim No. 0375985256) told Allstate that his

therapeutic exercises at Core Health never lasted for more than thirty (30) minutes.

      143. Yet, Core Health billed Allstate for therapeutic exercises lasting longer

than thirty (30) minutes in relation to at least fifteen (15) dates of service.

      144. Allstate is not required to pay the defendants for services that were not

actually rendered and is entitled to restitution for claims it was induced to pay by the

defendants’ fraudulent submissions.

      B.     TRANSPORTATION SERVICES NOT PROVIDED

      145. Straightway submitted bills to Allstate for transportation that was never

provided to patients at issue in this Complaint.

      146. Straightway billed Allstate for transporting patients to Applied Rehab

and Elite Chiropractic on dates when the patient did not receive any treatment.

      147. For example, Straightway billed Allstate for transporting patient K.B.

(Claim No. 0468996672) to Elite Chiropractic on December 9, 2016 and February

13, 2017.




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      148. However, K.B. did not receive any treatment from Elite Chiropractic

on either date.

      149. Straightway created template transportation logs to perpetuate its

fraudulent scheme.

      150. Straightway sent Allstate documents purporting to identify the date,

pick-up location, drop-off destination, and time of pick-up.

      151. Straightway manufactured these documents in an attempt to hide the

fact that it was not providing the alleged transportation services.

      152. In some cases, Straightway purported to transport the same patient to

multiple locations on the same date at the same time.

      153. For example, Straightway billed Allstate for transporting patient Y.A.

(Claim No. 0378562672) twice on October 7, 2015.

      154. Straightway submitted two (2) separate transportation logs for the trips:

one identifying Core Health as the destination and the other identifying Michigan

Sports Medicine P.C. as the destination.

      155. Both logs indicate that Straightway picked up Y.A. at 4:00 p.m.

      156. It is not possible to pick up a passenger and transport him to two (2)

distinct locations at the same time.

      157. As another example, Straightway billed Allstate for transporting patient

E.C. (Claim No. 0444334346) twice on April 10, 2017: once from his residence to



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Elite Chiropractic and once from Elite Chiropractic to Dearborn Pain Specialists,

PLC (“Dearborn Pain Specialists”).

      158. Straightway submitted separate transportation logs for the trips, both

indicating that Straightway picked up E.C. at 11:00 a.m.

      159. Again, it is not possible to pick up a passenger and transport him to two

(2) distinct locations at the same time.

      160. Yet, Straightway claimed to have done so on numerous occasions,

including the following representative claims:

      •      Patient R.C. (Claim No. 0466646130) testified that Straightway never
             transported him from his residence in Detroit to appointments in
             Dearborn twice on the same day. Straightway billed Allstate alleging
             to have transported R.C. twice on the same day from his residence in
             Detroit to multiple locations in Dearborn on at least seven (7) dates of
             service.     On at least three (3) dates, Straightway submitted
             transportation logs indicating that Straightway picked up R.C. and
             drove him to two (2) different locations at the exact same time.
             Straightway also billed Allstate for allegedly transporting R.C. to
             Applied Rehab and/or Elite Chiropractic on four (4) dates when neither
             Applied Rehab nor Elite Chiropractic rendered treatment to R.C. In
             total, Straightway billed Allstate $2,208.80 for transportation services
             that were never rendered to R.C.

      •      Straightway billed Allstate for two (2) roundtrips on October 3, 2016
             relating to T.M. (Claim No. 0453318891): one (1) roundtrip from his
             residence to Elite Chiropractic and a second roundtrip from his
             residence to Huraibi Pain & Rehab Institute.              However, the
             transportation logs that Straightway submitted for these trips indicate
             that Straightway picked T.M. up at the exact same time to take him to
             two (2) different places. Straightway also billed Allstate for
             transporting T.M. to Elite Chiropractic on November 3, 2016.
             However, T.M. did not receive treatment at Elite Chiropractic on that
             date. Straightway billed Allstate for allegedly transporting T.M. to two

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             (2) separate and distinct locations on May 18, 2017: one (1) roundtrip
             from his residence to Elite Chiropractic and a second roundtrip from
             his residence to HS Management.                 Straightway submitted
             transportation logs for these two (2) trips that once again indicate that
             Straightway picked T.M. up at the exact same time to take him to two
             (2) different places. Straightway billed Allstate $591.20 for these
             transportation services that were never rendered.

       •     Straightway billed Allstate for transporting L.L. (Claim No.
             0434095294) to two (2) separate and distinct locations on November 2,
             2016: one (1) roundtrip from his residence to Elite Chiropractic and a
             second roundtrip from his residence to Huraibi Pain & Rehab Institute.
             Straightway’s transportation logs for these two (2) trips indicate that
             Straightway picked up L.L. at 10:00 a.m. to transport him to Huraibi
             Pain & Rehab Institute and then picked him up again just a minute later
             at 10:01 a.m. to transport him to Elite Chiropractic. Straightway billed
             Allstate $204.80 for these transportation services that were never
             rendered.

VI.    THE DEFENDANTS BILLED FOR TREATMENT THAT WAS
       IMPROPERLY INFLUENCED BY FACTORS OTHER THAN
       LEGITIMATE MEDICAL JUDGMENT

       161. Michigan law prohibits “[a]ny physician or surgeon engaged in the

practice of medicine in this state” to “employ any solicitor, capper, or drummer for

the purpose of procuring patients.” Mich. Comp. Laws § 750.429.

       162. Other conduct prohibited under Michigan law ranges from the

identification and solicitation of potential patients of medical providers, to the use

of agents to solicit patients, and to the receipt of fees obtained through such

fraudulent methods, including the mere participation in any schemes relating to such

activity. See Mich. Comp. Laws §§ 750.410b, 750.429, 257.503, and 500.4503(h)-

(i).

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      163. It is illegal in Michigan to contact any motor vehicle accident victim to

offer a service within thirty (30) days of the accident, Mich. Comp. Laws § 750.410b,

or use police reports to solicit any person identified in the report, Mich. Comp. Laws

§ 257.503(1)(a).

      164. Only       “lawfully-render[ed]    treatment”   is   compensable     under

Michigan’s No-Fault Act. Mich. Comp. Laws § 500.3157(1).

      165. As discussed supra, defendants Kallil Kazan and Khanafer obtained

police reports through the fictitious company Auto Assurance in order to illegally

solicit victims of motor vehicle accidents.

      166. The defendants illicitly contacted motor vehicle accident victims within

days of their alleged motor vehicle accident.

      167. After contacting the victims, the defendants then travelled to their

homes in order to transport them to Applied Rehab and Elite Chiropractic.

      168. Indeed, several patients of Applied Rehab and Elite Chiropractic

recounted nearly identical stories of how they were solicited by these facilities in

direct violation of Michigan Law.

      169. One such patient, V.B. (Claim No. TXA-0201691) testified that Elite

Chiropractic contacted her through an “ambulance chaser” working on behalf of

Elite Chiropractic:




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      170. Another patient, E.C. (Claim No. 0444334346), stated to Allstate that

Applied Rehab called him within one week of his alleged motor vehicle accident:

             They called me. I am not quite sure if they saw the police
             report and then called me . . . they called me and said, hey,
             come out and we can set you up.

      171. A representative from Applied Rehab told E.C. “basically about what

they do,” and proceeded to pick up E.C. at his residence and transport him to Applied

Rehab.

      172. Yet another patient, J.W. (Claim No. 0389131368), testified that

someone called her to solicit her to treat at Applied Rehab:




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             Q.     And so how did you end up at Applied Rehab the
                    next day; did they call you to schedule an
                    appointment for you? Did someone from their
                    office call you and say, you know, heard you were
                    in an accident, come in, we’ll help you fill out an
                    application? How did that all happen?

             A.     Somebody called me.

      173. Upon information and belief, Applied Rehab paid patients $50 to attend

physical therapy.

      174. Bills submitted to Allstate seeking payment for treatment relating to

patients who were improperly influenced to present to the Defendant Entities by

factors other than legitimate medical judgment and who would not have presented

to the defendants but for the illicit contact are unlawful and not compensable under

Michigan law.

VII. BILLING FOR UNLAWFUL AND UNLICENSED SERVICES

      175. Not only did Straightway bill Allstate for transportation services not

rendered, as discussed supra, but it also billed for unlicensed medical transportation

services.

      176. Prior to March 21, 2017, the State of Michigan required non-emergency

medical transport vehicles to obtain a Certificate of Authority through the

Department of Transportation.




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        177. From March 21, 2017 through the present, the State of Michigan

requires that medical transportation companies register with the Department of

Licensing and Regulatory Affairs (“LARA”). Mich. Comp. Laws § 257.2104(1).

        178. However, Straightway did not register with LARA until October 18,

2017.

        179. Therefore, Straightway billed Allstate for unlawful transportation

services from March 21, 2017 through October 17, 2017. See Exhibit 4.

        180. Allstate is not required to pay Straightway for unregistered and

unlawful transportation services.

VIII. EXCESSIVE AND MEDICALLY UNNECESSARY TREATMENT

        181. The defendants billed Allstate for excessive and medically unnecessary

treatment, if provided at all, that consisted of unnecessary injections, various

procedures, anesthesia, excessive and unwarranted physical therapy and chiropractic

treatment, unnecessary transportation services, and prescriptions for highly

addictive narcotic medications designed to ensure patients continued to present to

the defendants on a regular basis, allowing the defendants to continue to fraudulently

bill Allstate.

        A.       PREDETERMINED TREATMENT PROTOCOL

        182. Allstate’s investigation revealed a strikingly similar pattern of alleged

diagnoses and treatment across all patients: (1) routinely recording substantially



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similar diagnoses regardless of the patient’s reported injuries, (2) providing mirrored

treatment plans further confirming that patients were subjected to a predetermined

treatment protocol, and (3) listing identical short- and/or long-term goals for patients

in the instances such goals were even provided.

      183. Each patient was assessed as having extremely similar reports of

complaints, objective findings, and assessments regardless of the type of accident

and regardless of each patient’s age, sex, comorbidities, and pre-accident condition.

      184. For example, Elite Chiropractic diagnosed nearly every patient at issue

in this Complaint as having (1) a sprain/strain in the cervical spine, thoracic spine,

and lumbar spine; (2) myofascitis; and (3) subluxations in the cervical spine, thoracic

spine, lumbar spine, and pelvis.

      185. Considering the differences in accident, age, health, and levels of

fitness for the patients at issue in this Complaint, it is extremely unlikely that nearly

every patient had myofascitis and the same issues in all three (3) spinal regions.

      186. Core Health’s and Elite Chiropractic’s patient records contained nearly

identical “Treatment Options,” which did not account for individual patient

circumstances.

      187. Each patient’s records contained the following template “Treatment

Options”:

             Lumbar, thoracic, cervical and pelvic joint spine
             manipulation will be used to increase range of motion and

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              restore proper function. Myofascial release will be used
              to the area of hypertonic muscles to increase
              vascularization, to decrease muscle spasms, and to
              increase range of motions.           Mechanical traction
              (Intersegmental traction) will be used to increase mobility,
              decrease muscle spasms, widen the intervertebral space
              and decrease intradiscal pressure of the spine. Heat and
              cold pack can also be used to decrease inflammation and
              the muscle spasms.         Stretching and strengthening
              exercises will be used for Neuro Muscular Re-Education
              and strengthening the muscles of the spine and pelvis.
              Ultrasound will be used to help decrease inflammation and
              help     break    up     any     adhesions.         Muscle
              Stimulation/Interferential Current will be used to increase
              localized blood flow, pain reduction, and help stimulate
              muscle for muscle contraction.

      188. Core Health and Elite Chiropractic also included boilerplate “Plan

Options” using the following language for nearly every patient (emphasis original):

              Treatment will consist of three times a week for the next
              four-six weeks of Chiropractic manipulation, mechanical
              traction,         Ultrasound,         and           Muscle
              Stimulation/Interferential. Stretching and strengthening
              exercises will be added to the treatment plan to strengthen
              the core, pelvic, and paraspinal muscles. Also, heat and
              cold therapy will be used for pain control and decrease
              inflammation. After 12-14 visits, a complete re-evaluation
              of the patient will be conducted. At that time, we will
              make future recommendations for care. I advised the
              patient to avoid any activities that may aggravate his
              symptoms. Furthermore, I advised to the patient if his
              symptoms get worse to go to the nearest emergency
              room.

      189. Applied Rehab included nearly identical treatment plans in each initial

evaluation:



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      190. The defendants also engaged in symptom magnification, often alleging

symptoms and diagnoses that conflicted with findings by other providers.

      191. By magnifying symptoms, the defendants sought to justify prolonged,

unnecessary treatment and referrals to each other in furtherance of their scheme.

      192. By and through this protocol, the defendants engaged in a

predetermined and formulaic pattern of treatment and referrals.

      193. First, patients initiated chiropractic treatment at Core Health or Elite

Chiropractic.

      194. Then, Core Health or Elite Chiropractic referred patients to pain

management physicians, such as Huraibi, Huraibi Pain & Rehab Institute, and HS

Management, in order to obtain a physical therapy prescription.

      195. Huraibi, Huraibi Pain & Rehab Institute, and HS Management provided

the patients with a prescription for physical therapy, which was then billed by Core

Health or Applied Rehab.




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      196. Huraibi, Huraibi Pain & Rehab Institute, and HS Management also

provided the patients with a disability certificate fraudulently documenting the need

for transportation services, which were then billed by Straightway.

      197. The predetermined protocol is confirmed by the modalities that Elite

Chiropractic and Applied Rehab billed to Allstate.

      198. After the initial evaluation, Elite Chiropractic billed Allstate using CPT

Codes 98940 or 98941, 97012, 97014, 97010, and 97035 on virtually every date of

service for every patient. See Exhibit 2.

      199. However, once the patient initiated physical therapy at Applied Rehab,

Elite Chiropractic only billed Allstate for CPT Codes 98940 or 98941 and 97012.

Id.

      200. Applied Rehab—located in the same space as Elite Chiropractic—then

billed Allstate for CPT Codes 97014 (electrical stimulation (unattended)), 97010

(hot/cold packs), and 97035 (ultrasound), as well as CPT Code 97110 (therapeutic

exercise), on nearly every date of service for every patient. See Exhibit 1.

      201. Salameh confirmed that Elite Chiropractic stops billing for electrical

stimulation, hot/cold packs, ultrasound, and therapeutic exercises once a patient

allegedly presents to Applied Rehab:




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      202. Because Applied Rehab and Elite Chiropractic share the same office

space, Salameh further testified that he stops billing for treatment when the

receptionist at the front desk advises him that the patient presented to Applied Rehab:




      203. The systematic approach to billing for the same modalities for every

patient demonstrates that the defendants billed Allstate for predetermined treatment

that was not tailored to individual patient needs.




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      204. As part of their predetermined protocol, the defendants billed for

monthly patient evaluations that had no effect on treatment.

      205. The defendants used these monthly evaluations not to determine

whether the patient actually responded to purportedly rendered treatment, but rather

to continue referring the patients for unnecessary treatment and services within their

network with the sole goal of generating profit for themselves.

      B.     UNNECESSARY AND EXCESSIVE CHIROPRACTIC TREATMENT

      206. Core Health and Elite Chiropractic billed for nearly identical treatment

to every patient at issue in this Complaint, confirming that treatment was rendered

pursuant to a predetermined protocol, if rendered at all, and not based on the specific

needs of each patient.

      207. Core Health and Elite Chiropractic billed Allstate for excessive

chiropractic treatment that violated chiropractic guidelines and standards of care, if

rendered at all.

      208. The Guidelines for Chiropractic Quality Assurance and Practice

Parameters, commonly referred to as the “Mercy Guidelines,” state that “manual

procedures may no longer be appropriate and alternative care should be considered”

when a patient fails to show significant documented improvement after four (4)

weeks.




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      209.     If there is a lack of improvement during the first four (4) weeks of

treatment, then the patient’s plan of care should be re-evaluated and adjusted as

appropriate.

      210. Otherwise, the chiropractic treatment cannot be justified as it is no

longer medically necessary once it is no longer effective.

      211. Indeed, the Center for Medicare & Medicaid Services (“CMS”) states

that anything beyond twelve (12) visits per year is excessive, and that there is a

greater likelihood that continued care is not medically indicated for any treatment

beyond twenty-four (24) visits.

      212. The American Chiropractic Association (“ACA”) wrote a letter to CMS

and agreed with the need for limitations in chiropractic treatment.

      213. The ACA professed support for a national soft cap of eighteen (18)

visits and a hard cap, requiring further justification, of twenty-four (24) visits.

      214. Nonetheless, Core Health and Elite Chiropractic continued billing for

chiropractic treatment for months—sometimes years—on end despite the patient

failing to show any improvement.

      215. For example, the defendants allegedly rendered chiropractic treatment

to patient K.B. (Claim No. 0468996672) for one (1) year and three (3) months—116

visits—without any benefit.

      216. Such was the case with nearly every patient at issue in this Complaint.



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      217. Core Health and Elite Chiropractic also violated the standard of care by

billing for chiropractic treatment on consecutive days.

      218. Delivery of chiropractic care on consecutive dates cannot be

substantiated as medically necessary unless specific sets of circumstances are

identified.

      219. Yet Core Health and Elite Chiropractic billed Allstate for allegedly

rendering chiropractic treatment on consecutive days to nearly every patient at issue

in this Complaint without documenting any specific circumstances necessitating

chiropractic care on consecutive days.

      C.      UNNECESSARY AND EXCESSIVE PHYSICAL THERAPY

      220. Core Health and Applied Rehab billed Allstate for physical therapy

performed in violation of established standards of care.

      221. Under Michigan law, for dates of service before January 1, 2015,

physical therapy had to be prescribed by an individual licensed to practice dentistry,

medicine, osteopathic medicine and surgery, or podiatric medicine and surgery.

Mich. Comp. Laws § 333.17820(1).

      222. For dates of service after January 1, 2015, physical therapy treatment

must be prescribed by a licensed medical or osteopathic doctor if such treatment

exceeds twenty-one (21) days or ten (10) visits. Mich. Comp. Laws. § 333.17820(1).




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      223. Because the defendant physical therapy clinics frequently billed

Allstate for alleged treatment that extended for many months or years, nearly all of

the alleged treatment at issue herein required a prescription.

      224. Because the defendant physical therapy clinics frequently began billing

Allstate for treatment within days or weeks of the alleged occurrence of accidents,

physical therapy treatment of the patients at issue herein was frequently initiated

before a prescription was written.

      225. In such instances, the defendant physical therapy clinics arranged for

patients to obtain pro forma prescriptions from physicians associated with the

clinics, including defendants Huraibi, Huraibi Pain & Rehab Institute, and HS

Management, and treatment invariably continued using the same predetermined plan

that had already been initiated.

      226. Physical therapy must be objectively indicated; that is, a patient’s

subjective complaints of pain are not sufficient to justify more than a few weeks of

physical therapy.

      227. However, Applied Rehab and Core Health based their physical therapy

treatment on patients’ subjective symptoms alone.

      228. Prescriptions that were issued without a sufficient independent

examination and medical determination, and which merely ordered the continuation




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of the course of treatment that had already been initiated by the defendant physical

therapy clinics, are insufficient to establish medical necessity.

      229. Huraibi, Huraibi Pain & Rehab Institute, and HS Management routinely

issued physical therapy prescriptions to patients they allegedly evaluated as “Fast

Track” patients.

      230. The records relating to Huraibi’s “Fast Track” patients never document

any kind of exam prior to the patient being issued a physical therapy prescription (or

a disability certificate as discussed infra).

      231. In addition, the physical therapy treatment billed by Core Health and

Applied Rehab rarely varied from patient to patient, evidencing that treatment was

rendered pursuant to a predetermined protocol that was not individualized to each

patient’s clinical symptoms and needs.

      232. Applied Rehab used template short-term and long-term goals, when it

provided goals at all for patients at issue in this Complaint.

      233. Nearly every patient at issue in this Complaint had short-term goals to

(1) reduce “joint inflammation, or restriction & pain” by 25% in 2 weeks; (2) reduce

pain by 25% in 2 weeks; (3) improve postural control by 25% in 2 weeks; and (4)

improve range of motion by 25% in 2 weeks.




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      234. Applied Rehab included the same “Frequency of PT” (“Three times

weekly”) and the same “Duration of PT” (“4 weeks”) in the initial evaluation for

every patient at issue in this Complaint.

      235. The goal of physical therapy is to transition to a home exercise

program; however, Core Health and Applied Rehab billed for physical therapy far

beyond any reasonable expectation.

      236. Core Health and Applied Rehab also billed for physical therapy to

patients at issue in this Complaint who were allegedly receiving chiropractic care at

the same time—indeed, on the same date—as the physical therapy.

      237. Concurrent physical therapy and chiropractic treatment is not necessary

if either is properly provided, as both use largely the same treatment modalities.

      238. Applied Rehab made treatment decisions based on the amount of

money that it could bill Allstate and not based on the amount of treatment that the

patients at issue in this Complaint required.

      239. Abhijeet Vaidya, a physical therapist at Applied Rehab, testified that

Applied Rehab billed for therapeutic exercises for a particular amount of time

because that was the minimum amount of time for which it could bill for two (2)

units of therapeutic exercises:

             Q.     I notice that the therapeutic exercises billed under
                    CPT code 97110 were billed at 23 minutes, and that
                    happened several times in a row. And the way I look
                    at it, 23 minutes is kind of an odd number of

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                    minutes. My question to you is, is 23 minutes
                    actually kind of like a standard increment of
                    minutes that you provide therapeutic exercises for a
                    patient?

             A.     It’s a Medicare rule of this certain number of
                    minutes and we follow that rule. It’s called [the]
                    eight-minute rule, you know. And for therapeutic
                    [exercises] is [sic] minimum 23 minutes. So you
                    can Google it, and you can find that rule.

      240. Vaidya’s testimony confirms that Applied Rehab billed Allstate not

based on actual patient need (which would not be exactly 23 minutes for every single

patient), but rather Applied Rehab billed Allstate with the sole goal of profiting as

much as possible while doing the least amount possible in a clear money grab that

did not include any considerations of actual patient need.

      241. Allstate is not required to pay Applied Rehab and Core Health for

medically unnecessary physical therapy treatment and it is entitled to the return of

money paid in reasonable reliance on the defendants’ fraudulent bills.

      D.     MEDICALLY UNNECESSARY INJECTIONS

      242. Huraibi, Huraibi Pain & Rehab Institute, and HS Management

subjected their patients to a battery of unnecessary and dangerous epidural steroid

injections, facet joint injections, and other injection-related services.

      243. The performance of invasive procedures (such as injections) for the

relief of pain must be based upon adequate diagnosis and legitimate medical

necessity.

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      244. A physician should resort to injections only after a patient does not

respond to more conservative forms of care.

      245. However, Huraibi, Huraibi Pain & Rehab Institute, and HS

Management billed for performing injections on patients while they continued

physical therapy treatment.

      246. In fact, Huraibi, Huraibi Pain & Rehab Institute, and HS Management

billed Allstate for injections on patients who allegedly received physical therapy

treatment the following day.

      247. Conducting injections before providing a patient with an opportunity to

respond to conservative treatment modalities demonstrates the fraudulent and

medically unnecessary nature of the injections.

      248. Huraibi, Huraibi Pain & Rehab Institute, and HS Management resorted

to injections in the initial stages of treatment as a matter of course.

      249. The defendants rarely allowed conservative treatment to run its course

prior to recommending patients for injections.

      250. Allstate is not required to pay the defendants for medically unnecessary

injections that were only recommended and billed to bolster claims submitted to

Allstate.




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         E.    IMPROPER INDUCEMENTS

         251. Huraibi played an indispensable role in the defendants’ scheme, as he

provided the disability certificates and physical therapy prescriptions that allowed

the other defendants to bill for excessive and unnecessary treatment and services.

         252. Huraibi also was responsible for providing the incentives that induced

patients to attend treatment several days per week for months, and, in many cases,

years.

         253. As part of the defendants’ predetermined treatment protocol, Huraibi,

Huraibi Pain & Rehab Institute, and HS Management required patients to present for

a purported evaluation on a monthly basis.

         254. At each monthly follow-up, Huraibi, Huraibi Pain & Rehab Institute,

and HS Management provided patients with pro forma disability certificates

prescribing unnecessary replacement services, attendant care, and transportation.

         255. The certificates were not based on the individual needs of each patient

and corresponding records consistently failed to document medical necessity.

         256. In truth, patients were informed that they could “hire” friends and

family members to perform the replacement services and attendant care and that the

insurance companies would pay them for these services for every day they were in

treatment.




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      257. Thus, the disability certificates served as a kind of payment that patients

could only receive by attending their appointments and other unnecessary treatment

with the defendants.

      258. In addition, Huraibi, Huraibi Pain & Rehab Institute, and HS

Management also prescribed patients opioid drugs, which are easily abused and can

be resold illegally for thousands of dollars.

      259. Huraibi prescribed the same drugs to patients at their initial

appointment, which were re-filled at nearly every appointment thereafter, including

Norco, Tramadol, Cyclobenzaprine, and a nonsteroidal anti-inflammatory drug.

      260. In many cases, the medications were not indicated at all for the

treatment of the patient’s purported condition.

      261. Huraibi’s, Huraibi Pain & Rehab Institute’s, and HS Management’s

frequent prescription of opioid pain medication is particularly egregious, as it

contributed to a significant public health crisis in Michigan.

      262. On October 26, 2015, a bipartisan task force formed by then Michigan

Governor Rick Snyder issued a report “addressing the growing prescription drug and

opioid problem in Michigan.”

      263. The task force reported:

             Prescription drug abuse has reached epidemic proportions.
             The increased availability of prescription drugs, coupled
             with general misperceptions regarding the safety of
             physician-prescribed medications, has led to exponential

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             growth of drug users and drug abusers. In Michigan, the
             number of drug overdose deaths – a majority of which are
             from prescription drugs – has tripled since 1999.

      264. It has been estimated that the risk of addiction for patients receiving

long-term prescriptions for opioid painkillers is as high as 56% of all such patients.

Bridget A. Martell, et al., Systematic Review: Opioid Treatment for Chronic Back

Pain: Prevalence, Efficacy, and Association with Addiction, 146(2) Ann. Intern.

Med. 116-127 (2007).

      265. Nonetheless, Huraibi, Huraibi Pain & Rehab Institute, and HS

Management prescribed narcotic medications as a matter of course at the expense of

the proper care and safety of their patients and the safety of the community at large.

      F.     EXEMPLAR CLAIMS

      266. The following patients exemplify the fraudulent unnecessary and

excessive medical treatment billed by the defendants relative to the patients at issue

herein.

             1.    Patient Y.A. (Claim No. 0378562672)

      267. Patient Y.A. was allegedly involved in a motor vehicle accident on July

8, 2015.

      268.   He initiated chiropractic treatment at Core Health on September 1,

2015 with Salameh.




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      269. Like nearly every patient at issue in this Complaint, Salameh’s

diagnoses for Y.A. included: (1) a sprain/strain in the lumbar spine and cervical

spine; (2) myofascitis; and (3) subluxations in the lumbar spine, thoracic spine,

cervical spine, and pelvis.

      270. Like almost every patient at issue in this Complaint, Salameh initiated

a predetermined protocol of chiropractic treatment three (3) times a week.

      271. Salameh also provided Y.A. with a disability certificate indicating that

he was disabled from driving as a result of the alleged accident despite the fact that

Y.A. was thirteen (13) years old at the time and was never able to drive.

      272. Therefore, the transportation services billed by Straightway were not

medically necessary or causally related to the alleged motor vehicle accident.

      273. Salameh renewed these disability certificates on a monthly basis.

      274. Core Health stopped treating Y.A. on December 30, 2015 and Elite

Chiropractic started treating him on January 5, 2016.

      275. Y.A. allegedly initiated physical therapy treatment at Applied Rehab

on January 7, 2016.

      276. Elite Chiropractic and Applied Rehab billed Allstate for chiropractic

and physical therapy treatment on the same date of service seventeen (17) times,

which violates the standard of care.




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      277. Core Health and Elite Chiropractic billed for chiropractic treatment on

consecutive days in violation of the standard of care.

      278. Treatment rendered in violation of established standards of care is

unreasonable and medically unnecessary.

      279. Core Health, Elite Chiropractic, and Applied Rehab submitted claims

for payment and accompanying medical records relative to Y.A. to Allstate through

the U.S. Mail seeking payment for unreasonable and unnecessary treatment, upon

which Allstate relied in adjusting the claims.

      280. Allstate is not required to pay Core Health, Elite Chiropractic, and

Applied Rehab for the medically unnecessary treatment billed relative to Y.A., and

is entitled to the return of monies it paid to Core Health, Elite Chiropractic, and

Applied Rehab for the medically unnecessary treatment.

             2.    Patient B.S. (Claim No. 0476135181)

      281. Patient B.S. was allegedly involved in a motor vehicle accident on

September 20, 2017.

      282. B.S. presented to Elite Chiropractic five (5) days later on September

25, 2017 for an initial evaluation with Salameh.

      283. Like almost every patient at issue in this Complaint, Salameh’s

diagnoses for B.S. included (1) sprains/strains in cervical spine, thoracic spine, and




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lumbar spine; (2) myofascitis; and (3) subluxations in the cervical spine, thoracic

spine, lumbar spine, and pelvis.

      284. Like nearly every patient at issue in this Complaint, Salameh initiated

a predetermined protocol of chiropractic treatment three (3) times a week.

      285. Elite Chiropractic billed Allstate for CPT Codes 97010, 97014, 97035,

97012, and 98941 on September 26, 2017 and September 27, 2017.

      286. B.S. initiated physical therapy at Applied Rehab on October 2, 2017

without a physical therapy prescription.

      287. The next day, on October 3, 2017, Huraibi, by and through HS

Management, provided B.S. with a physical therapy prescription without conducting

an evaluation of B.S.

      288. As per the defendants’ protocol, Applied Rehab began billing Allstate

for treatment that Elite Chiropractic allegedly rendered before B.S. obtained a

physical therapy prescription.

      289. From October 2, 2017 through February 2, 2018, Elite Chiropractic and

Applied Rehab continued billing Allstate for concurrent chiropractic and physical

therapy treatment, which violates the standard of care.

      290. In addition, Huraibi, by and through Huraibi Pain & Rehab Institute,

continued to renew B.S.’s physical therapy prescription even though B.S. failed to

show improvement.



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      291. At a follow-up appointment on December 7, 2017, B.S. stated that his

pain was “about the same since the last visit.”

      292. Nonetheless, Huraibi Pain & Rehab Institute renewed B.S.’s physical

therapy prescription.

       293. Huraibi Pain & Rehab Institute renewed B.S.’s physical therapy

prescriptions despite B.S. not demonstrating any improvement several times

throughout the course of B.S.’s treatment.

       294. Elite Chiropractic, Applied Rehab, Huraibi Pain & Rehab Institute, and

HS Management submitted claims for payment and accompanying medical records

relative to B.S. to Allstate through the U.S. Mail seeking payment for unreasonable

and unnecessary treatment, upon which Allstate relied in adjusting the claims.

       295. Allstate is not required to pay Elite Chiropractic, Applied Rehab,

Huraibi Pain & Rehab Institute, and HS Management for the medically unnecessary

treatment billed relative to B.S., and is entitled to the return of monies it paid to Elite

Chiropractic, Applied Rehab, Huraibi Pain & Rehab Institute, and HS Management

for the medically unnecessary treatment.

             3.     Patient M.F. (Claim No. 0426792354)

      296. Patient M.F. was allegedly involved in a motor vehicle accident on

August 28, 2016.




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        297. M.F. was allegedly examined at Elite Chiropractic on September 22,

2016.

        298. Elite Chiropractic’s exam records refers to the patient by the wrong

name: “Mr. Long,” confirming that M.F.’s record was recycled from another patient

and was not patient-specific.

        299. Elite Chiropractic began billing for chiropractic treatment relating to

M.F. on September 22, 2016 and Applied Rehab began billing for physical therapy

relating to M.F. on October 5, 2016.

        300. On September 30, 2016, Huraibi, by and through Huraibi Pain & Rehab

Institute, provided M.F. with a physical therapy referral without first conducting an

evaluation of M.F.

        301. Huraibi Pain & Rehab Institute billed Allstate for a trigger point

injection in relation to M.F. on November 7, 2016.

        302. The next day after the first injection, Elite Chiropractic allegedly

provided chiropractic manipulative therapy to M.F.’s cervical region, which is the

same region to which M.F. allegedly received a trigger point injection the day before.

        303. Performing injections before providing a patient with an opportunity to

respond to conservative treatment modalities demonstrates the fraudulent and

medically unnecessary nature of the injections.




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      304. Furthermore, there were no changes in M.F.’s treatment plan after the

trigger point injection.

      305. Elite Chiropractic billed Allstate for nine (9) months of chiropractic

treatment, which far exceeds chiropractic standards of care.

      306. Applied Rehab billed Allstate for nine (9) months of physical therapy,

which far exceeds established standards of care.

      307. Elite Chiropractic and Applied Rehab billed Allstate for allegedly

rendering concurrent chiropractic and physical therapy treatment, which also

violates the standard of care.

      308. Elite Chiropractic, Applied Rehab, and Huraibi Pain & Rehab Institute

submitted claims for payment and accompanying medical records relative to M.F.

to Allstate through the U.S. Mail seeking payment for unreasonable and unnecessary

treatment, upon which Allstate relied in adjusting the claims.

      309. Allstate is not required to pay Elite Chiropractic, Applied Rehab, and

Huraibi Pain & Rehab Institute for the bills relative to M.F., and is entitled to the

return of monies it paid to Elite Chiropractic, Applied Rehab, and Huraibi Pain &

Rehab Institute for the medically unnecessary treatment.

             4.     Patient K.B. (Claim No. 0468996672)

      310. Patient K.B. was allegedly involved in a motor vehicle accident on

August 21, 2016.



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      311. K.B. presented to Elite Chiropractic on September 23, 2016.

      312. Like nearly every patient at issue in this Complaint, Elite Chiropractic

initiated a predetermined protocol of chiropractic treatment three (3) times a week.

      313. Like almost every patient at issue in this Complaint, Salameh’s

diagnoses for K.B. included (1) sprains/strains in cervical spine, thoracic spine, and

lumbar spine; (2) myofascitis; and (3) subluxations in the cervical spine, thoracic

spine, lumbar spine, and pelvis.

      314. Pursuant to the predetermined treatment protocol, K.B. was issued a

prescription for physical therapy and a disability certificate by Huraibi, by and

through Huraibi Pain & Rehab Institute, on September 30, 2016.

      315. Huraibi did not examine K.B. prior to issuing the prescription for

physical therapy and disability certificate.

      316. K.B. presented to Applied Rehab to begin physical therapy on October

5, 2016.

      317. The record from K.B.’s initial exam at Applied Rehab incorrectly

records the date of loss as August 21, 2013, supporting, again, that K.B.’s record

was recycled from another patient and was not patient-specific but rather part and

parcel of the defendants’ predetermined treatment protocol.




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      318. This is further evidenced by the fact that the record also contains patient

complaints that conflict with Elite Chiropractic’s alleged patient complaints in

relation to K.B.

      319. Thereafter, Elite Chiropractic and Applied Rehab initiated K.B. on a

protracted course of unnecessary and excessive treatment in violation of established

standards of care.

      320. Elite Chiropractic and Applied Rehab billed Allstate for allegedly

rendering concurrent chiropractic and physical therapy treatment, which violates the

standard of care.

      321. Applied Rehab and Elite Chiropractic billed Allstate for allegedly

rendering physical therapy and chiropractic treatment on the same dates of service

108 times.

      322. Elite Chiropractic billed Allstate for 116 dates of service over sixteen

(16) months.

      323. Applied Rehab billed Allstate for 159 dates of service over seventeen

(17) months.

      324. The treatment modalities and frequency remained the same despite

monthly evaluations, confirming that the evaluations served no purpose other than

to perpetuate unnecessary treatment to be billed to Allstate.




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      325. Elite Chiropractic, Applied Rehab, and Huraibi Pain & Rehab Institute

submitted claims for payment and accompanying medical records relative to K.B. to

Allstate through the U.S. Mail seeking payment for unreasonable and unnecessary

treatment, upon which Allstate relied in adjusting the claims.

      326. Allstate is not required to pay Elite Chiropractic, Applied Rehab, and

Huraibi Pain & Rehab Institute for the medically unnecessary treatment billed

relative to K.B., and is entitled to the return of monies it paid to Elite Chiropractic,

Applied Rehab, and Huraibi Pain & Rehab Institute for the medically unnecessary

treatment.

             5.     Patient T.M. (Claim No. 0453318891)

      327. Patient T.M. was allegedly involved in a motor vehicle accident on

September 16, 2016.

      328. T.M. presented to Elite Chiropractic less than a week later on

September 21, 2016.

      329. Like almost every patient at issue in this Complaint, Salameh’s

diagnoses for T.M. included (1) sprains/strains in cervical spine, thoracic spine, and

lumbar spine; (2) myofascitis; and (3) subluxations in the cervical spine, thoracic

spine, lumbar spine, and pelvis.

      330. Like nearly every patient at issue in this Complaint, Elite Chiropractic

initiated a predetermined protocol of chiropractic treatment three (3) times a week.



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      331. Then, after T.M. initiated his course of treatment at Elite Chiropractic,

T.M. was issued a physical therapy prescription by Huraibi, by and through Huraibi

Pain & Rehab Institute, on October 3, 2016.

      332. T.M. presented to Applied Rehab for an evaluation on October 5, 2016.

      333. Applied Rehab started T.M. on a course of treatment in accordance with

the defendants’ predetermined protocol.

      334. Like with nearly every patient at issue in this complaint, Elite

Chiropractic and Applied Rehab billed Allstate for allegedly rendering concurrent

chiropractic and physical therapy treatment and chiropractic treatment on

consecutive days, which violates established standards of care.

      335. The treatment modalities and frequency remained the same despite

monthly evaluations, confirming that the evaluations served no purpose other than

to perpetuate unnecessary treatment to be billed to Allstate.

      336. HS Management billed Allstate for Huraibi performing a facet joint

injection on T.M. on November 3, 2016 in violation of the standard of care.

      337. Conducting injections before providing a patient with an opportunity to

respond to conservative treatment modalities demonstrates the fraudulent and

medically unnecessary nature of the injections.

      338. Elite Chiropractic, Applied Rehab, and Huraibi Pain & Rehab Institute

submitted claims for payment and accompanying medical records relative to T.M.



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to Allstate through the U.S. Mail seeking payment for unreasonable and unnecessary

treatment, upon which Allstate relied in adjusting the claims.

      339. Allstate is not required to pay Elite Chiropractic, Applied Rehab, and

Huraibi Pain & Rehab Institute for the medically unnecessary treatment billed

relative to T.M, and is entitled to the return of monies it paid to Elite Chiropractic,

Applied Rehab, and Huraibi Pain & Rehab Institute for the medically unnecessary

treatment.

             6.     Patient R.C. (Claim No. 0466646130)

      340. Patient R.C. was allegedly involved in a motor vehicle accident on

October 27, 2016.

      341. R.C.’s first disability certificate was issued by Salameh by and through

Elite Chiropractic on November 14, 2016.

      342. However, Straightway had already allegedly provided roundtrip

transportation to R.C. on November 7, 2016 in addition to transporting him to Elite

Chiropractic on November 14, 2016 prior to receiving a disability certificate.

      343. In addition, R.C. did not have a current disability certificate from

January 12, 2017 through March 16, 2017.

      344. Straightway allegedly provided transportation to R.C. twenty-three (23)

times during that period.




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       345. Even when R.C. did have an active disability certificate, Straightway’s

transportation services still were not medically necessary or causally related to the

accident because R.C.’s license had been suspended for at least four (4) years prior

to the alleged motor vehicle accident.

       346. R.C. testified that he did not drive during that time and that if he needed

to get to an appointment, he would either have a friend drive him or utilize public

transportation. Thus, R.C. confirmed that he did not need transportation services

from Straightway.

       347. R.C.’s initial evaluation at Elite Chiropractic allegedly occurred on

November 14, 2016.

       348. However, the record from that date of service does not mention R.C.’s

serious heart condition, which confirms that Salameh did not adequately examine

R.C.

       349. R.C. was placed on the same treatment protocol despite his heart

condition, which serves as further evidence that the defendants were more concerned

with maximizing their charges to Allstate than patient care.

       350. This is further evidenced by the fact that Huraibi referred R.C. to

physical therapy for alleged pain in his right wrist and to a chiropractor for pain in

joints of his right hand.




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      351. Elite Chiropractic and Applied Rehab did not render any treatment for

these areas.

      352. Elite Chiropractic and Applied Rehab billed for purportedly performing

treatment relating to R.C. concurrently for ten (10) months, which not only violates

the standard of care but is also excessive.

      353. Elite Chiropractic, Applied Rehab, and Huraibi Pain & Rehab Institute

submitted claims for payment and accompanying medical records relative to R.C. to

Allstate through the U.S. Mail seeking payment for unreasonable and unnecessary

treatment, upon which Allstate relied in adjusting the claims.

      354. Allstate is not required to pay Elite Chiropractic, Applied Rehab, and

Huraibi Pain & Rehab Institute for the medically unnecessary treatment billed

relative to R.C., and is entitled to the return of monies it paid to Elite Chiropractic,

Applied Rehab, and Huraibi Pain & Rehab Institute for the medically unnecessary

treatment.

               7.   Patient N.B. (Claim No. FXP-0229599)

      355. Patient N.B. (Claim No. (FXP-0229599) was allegedly involved in a

motor vehicle accident on September 9, 2016.

      356. N.B. presented to Elite Chiropractic on November 16, 2016.

      357. Like almost every patient at issue in this Complaint, Salameh’s

diagnoses for N.B. included (1) sprains/strains in cervical spine, thoracic spine, and



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lumbar spine; (2) myofascitis; and (3) subluxations in the cervical spine, thoracic

spine, lumbar spine, and pelvis.

      358. Like nearly every patient at issue in this Complaint, Elite Chiropractic

initiated a predetermined protocol of chiropractic treatment three (3) times a week.

      359. N.B. presented to Applied Rehab the next day, November 17, 2016, to

begin physical therapy, purportedly as a referral from Bachu Abraham, M.D.

      360. Straightway began billing for transportation relating to N.B. on

November 17, 2016.

      361. Thereafter, Elite Chiropractic and Applied Rehab initiated N.B. on a

protracted course of unnecessary and excessive treatment in violation of established

standards of care.

      362. Elite Chiropractic and Applied Rehab billed Allstate for allegedly

rendering concurrent chiropractic and physical therapy treatment, which violates the

standard of care.

      363. The treatment modalities and frequency remained the same despite

monthly evaluations, confirming that the evaluations served no purpose other than

to perpetuate unnecessary treatment to be billed to Allstate.

      364. Patient N.B.’s treatment lasted nine (9) months with no improvement.

      365. Elite Chiropractic and Applied Rehab submitted claims for payment

and accompanying medical records relative to N.B. to Allstate through the U.S. Mail



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seeking payment for unreasonable and unnecessary treatment, upon which Allstate

relied in adjusting the claims.

      366. Allstate is not required to pay Elite Chiropractic and Applied Rehab for

the medically unnecessary treatment that was billed relative to N.B. and is entitled

to the return of monies it paid to Elite Chiropractic and Applied Rehab for the

medically unnecessary treatment.

IX.   FRAUDULENT BILLING PRACTICES

      367. Providers like the defendants have a responsibility to select and submit

the billing code that accurately and truthfully identifies the services performed and

the complexity involved in rendering those services.

      368. The National Correct Coding Initiative (“NCCI”) was established to

promote national correct coding methodologies and to control improper coding

leading to inappropriate payment.

      369. The NCCI contains an edit table entitled the “Column One/Column

Two Correct Coding Edit Table” that identifies billing codes that should not be

reported together because the services (and reimbursement) of the Column Two code

is subsumed by the services (and reimbursement) for the Column One code.

      370. Violation of the edits (billing a Column One code and a Column Two

code on the same day for the same patient) is known as “unbundling,” which occurs




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when a provider bills separately for individual components of a procedure that are

included in another billing code also billed for the same date of service.

      371. Each NCCI edit has a modifier indicator assigned to it.

      372. A modifier indicator of “0” indicates a modifier cannot be used to

bypass the edit.

      373. A modifier indicator of “1” indicates that a properly-codified modifier

can be used to allow submitted services or procedures if certain criteria are met.

      374. Applied Rehab submitted bills to Allstate seeking payment for CPT

Codes paired with other billing codes that have NCCI Modifier Indicator “1” listed

in which the required criteria was never met.

      375. For each violation of the Column One and Column Two Edit Table, it

is the procedure in Column Two that is unbundled from Column One and therefore

is non-compensable.

      376. Applied Rehab submitted bills to Allstate seeking payment for CPT

Code 97140 (“Manual therapy techniques (e.g. mobilization, manipulation, manual

lymphatic drainage, manual traction) one or more regions, each 15 minutes”) and

CPT Code 97530 (“Therapeutic activities, direct (one on one) patient contact by the

provider (use of dynamic activities to improve functional performance), each 15

minutes”) for the same patient on the same date of service. See Exhibit 1.




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      377. CPT Code 97530 is a Column Two code and CPT Code 97140 is a

Column One code when billed on the same date of service for the same patient.

      378. Applied Rehab attempted to circumvent this edit by appending modifier

59 to the charges for CPT Code 97530.

      379. Modifier 59 is properly used to identify services that are not normally

reported together, but are appropriate under certain circumstances provided that

documentation is submitted proving that the billing code appended with modifier 59

was for “separate and distinct” treatment.

      380. None of the claims submitted by Applied Rehab seeking payment using

CPT Code 97530 with modifier 59 affixed met this criterion.

      381.   Applied Rehab fraudulently unbundled charges using CPT Code

97530 to Allstate totaling thousands of dollars. Id.

      382. Applied Rehab also submitted bills to Allstate seeking payment for

CPT Code 97110 (“Therapeutic procedure, one of more areas, 15 minutes;

therapeutic exercises to develop strength and endurance, range of motion and

flexibility”) and CPT Code 97164 (“Physical therapy re-evaluation”) for the same

patient on the same date of service.

      383. CPT Code 97164 is a Column Two code and CPT Code 97110 is a

Column One code when billed on the same date of service for the same patient.




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      384. Thus, Applied Rehab fraudulently unbundled charges using CPT Code

97164 totaling thousands of dollars. Id.

      385. The breadth, depth, and frequency of Applied Rehab’s fraudulent

billing confirms that these billing practices were intentional.

      386. Allstate is not obligated to pay Applied Rehab for fraudulently billed

treatment.

X.    UNREASONABLE AND EXCESSIVE TRANSPORTATION
      CHARGES

      387. The transportation charges billed to Allstate by Straightway are

unreasonable and excessive.

      388. Michigan courts have stated explicitly that “medical care providers are

prohibited from charging more than a reasonable fee.” McGill v. Auto. Ass’n, 207

Mich. App. 402, 405 (1994).

      389. The Michigan No-Fault Act states that only “reasonable charges”

constitute allowable expenses thereunder. Mich. Comp. Laws § 500.3107(1)(a).

      390. Michigan law is clear that the burden of proving the reasonableness of

charges submitted for No-Fault benefits lies with the provider and insurers have an

obligation to police and challenge unreasonable charges.

      391. For the reasons discussed infra, Straightway cannot meet its burden,

thereby vitiating Allstate’s obligation to pay any of the unreasonable charges for the

alleged transportation services billed by Straightway.

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      392. Straightway charged Allstate a $35 pick-up fee, a $35 drop-off fee, and

a mileage charge of $2 per mile per passenger, regardless of whether Straightway

picked up or dropped off multiple passengers at the same location.

      393. These rates far exceed the amount of a taxicab and vastly surpass the

cost to take an application-based ride-hailing service, such as Uber or Lyft.

      394. For example, patients Y.A. (Claim No. 0378562672) and M.A. (Claim

No. 0378562672) each live 3.3 miles away from Core Health, Applied Rehab, and

Elite Chiropractic.

      395. Straightway submitted bills to Allstate seeking payment for

transportation services purportedly provided to both Y.A. and M.A. at the same time

on the same date of service, indicating that it picked up and dropped off both patients

at the same locations, on forty-eight (48) dates of service.

      396. Straightway billed Allstate $81.52 per date of service per patient for

roundtrip transportation to Core Health, Applied Rehab, and Elite Chiropractic.

      397. Straightway therefore billed Allstate $163.04 per date of service for

allegedly transporting Y.A. and M.A. a total of 6.6 miles.

      398. A round-trip taxicab ride for the same distance, including a fifteen

percent (15%) tip, costs approximately $21.30, or less than one-seventh the amount

charged to Allstate by Straightway.




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         399. A round-trip Uber ride for the same distance costs approximately

$18.00, or less than one-ninth the amount charged to Allstate by Straightway.

         400. The excessive nature of Straightway’s charges are also demonstrated

by it billing Allstate $70.40 for purportedly transporting patients less than one city

block.

         401. Straightway billed Allstate for transporting R.C. (Claim No.

0466646130) from Elite Chiropractic’s location at 13700 Michigan Avenue to

Dearborn Pain Specialists, located at 13530 Michigan Avenue on March 17, 2017

and then again on March 27, 2017.

         402. Dearborn Pain Specialists is 0.1 miles from Elite Chiropractic.

         403. Charging $70.40 to transport a patient 0.1 miles is excessive and

unreasonable.

         404. A taxicab ride for the same distance, including a fifteen percent (15%)

tip, costs approximately $3.00, or less than one-twenty-third the amount charged to

Allstate by Straightway.

         405. Straightway charges an excessive rate for transportation services and

cannot sustain its burden of proving otherwise.




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XI.   MISREPRESENTATIONS MADE BY THE DEFENDANTS AND
      RELIED UPON BY ALLSTATE

      A.     MISREPRESENTATIONS BY THE DEFENDANTS

      406. To induce Allstate to pay promptly their fraudulent charges, the

defendants submitted and caused to be submitted to Allstate false documentation

that materially misrepresented that the services they referred and billed were

necessary within the meaning of the Michigan No-Fault Act, that the charges for the

same were reasonable, and that all treatment was lawfully and actually rendered.

      407. Claims for medical benefits under Michigan’s No-Fault Act can only

be made for “reasonable charges incurred for reasonably necessary products,

services and accommodations for an injured person’s care, recovery, or

rehabilitation.” Mich. Comp. Laws § 500.3107(1)(a).

      408. Moreover, claims for medical benefits under Michigan’s No-Fault Act

can only be made for services that are “lawfully render[ed].” Mich. Comp. Laws §

500.3157(1).

      409. Thus, every time the defendants submitted bills and medical records to

Allstate supporting their claims for No-Fault benefits, the defendants necessarily

warranted that such bills and records related to lawfully and actually rendered and

necessary treatment for their patients’ care, recovery, or rehabilitation.




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      410. There are no less than nine (9) separate reasons why the defendants’

alleged treatment was not in fact performed, was not lawful, was not medically

necessary, and was fraudulently billed to Allstate:

             a.    Applied Rehab, Elite Chiropractic, Core Health, Straightway,
                   Kallil Kazan, Khanafer, Salameh, and Mo Kazan billed Allstate
                   for treatment and services that were not actually provided.
                   Multiple patients at issue in this Complaint denied receiving the
                   treatment or services that these defendants billed.

             b.    The defendants falsified and altered records to justify billing for
                   medically unnecessary services, including physical therapy and
                   medical transportation, and to create the appearance of injuries.

             c.    The defendants offered improper inducements to patients to
                   undergo medically unnecessary treatments, including
                   prescriptions for opioids and promises of disability certificates.

             d.    The defendants billed for treatment that was improperly
                   influenced by factors other than legitimate medical judgment and
                   engaged in quid pro quo relationships with each other. The
                   defendants utilized a fictitious entity to purchase motor vehicle
                   accident reports and then used these reports to solicit motor
                   vehicle accident victims for medically unnecessary treatment
                   that these persons did not seek and would not have sought but for
                   the unlawful contact by the defendants. The defendants
                   participated in quid pro quo relationships with each other that
                   derived profit for themselves without regard for the necessity and
                   lawfulness of the treatment billed to Allstate.

             e.    Straightway billed Allstate for unlawful transportation services,
                   including alleged services when Straightway did not have the
                   required registration from the State of Michigan.

             f.    The defendants used an unlawful predetermined treatment
                   protocol, implemented by the ordering of excessive physical
                   therapy, disability, chiropractic treatment, medications, and
                   injection therapy. This predetermined protocol is confirmed by

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                   the nearly identical purported findings and treatment plans
                   ordered for patients at issue in this Complaint, which have no
                   relationship to medical necessity or any patient-specific
                   considerations.

             g.    Huraibi, Huraibi Pain & Rehab Institute, and HS Management
                   indiscriminately referred patients for physical therapy (to
                   defendants Core Health and Applied Rehab) without any
                   individual determination of medical necessity, and without any
                   evaluation of the efficacy of such treatment. The predetermined
                   nature of these referrals is illustrated by the defendants’
                   purported examination findings, or lack thereof, which
                   frequently ordered physical therapy without reference to whether
                   or not the patient was already attending physical therapy or
                   whether it was effective.

             h.    Applied Rehab submitted claims to Allstate using the fraudulent
                   billing practice of unbundling. The prevalence of Applied
                   Rehab’s unbundling evidences that it was a regular practice that
                   was knowingly and intentionally done. Unbundling that is done
                   knowingly and intentionally constitutes a fraudulent billing
                   practice.

             i.    Straightway submitted charges to Allstate for transportation
                   services that were excessive and grossly unreasonable.

      411. As detailed supra, the defendants frequently violated established

standards of care, treated excessively, and billed for treatment without basis or

adequate substantiation.

      412. If treatment is not required for a patient’s care, recovery, or

rehabilitation, such treatment is not medically necessary.

      413. The foregoing facts – billing for services not rendered, unlawfully

soliciting patients, offering improper inducements, falsifying documents to justify



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excessive treatment, using a predetermined treatment protocol to inflate charges,

misrepresenting the necessity of procedures performed on submitted bills, and

unbundling – were not, and could not have been, known to Allstate until it

commenced its investigation of the defendants shortly before the filing of this action.

      414. Taken as a whole, the prevalence of such facts and the defendants’

failure to abide by accepted standards of care render the treatment and testing billed

by the defendants unnecessary and unlawful.

      415. The fact of violations of medical standards is present with respect to

every patient at issue in this Complaint, including those specific patient examples

set out above and in the charts annexed hereto at Exhibits 1 through 6.

      416. Thus, each claim for payment (and accompanying medical records)

under Michigan’s No-Fault Act faxed and mailed to Allstate by, on behalf of, or with

the knowledge of the defendants constitutes a misrepresentation because the

treatment underlying the claim was not lawful and medically necessary, as it must

be in order to be compensable under Michigan law.

      417. Moreover, each Health Insurance Claim Form (“HICF”) submitted to

Allstate by the defendants contained the following notation: “NOTICE: Any person

who knowingly files a statement of claim containing any misrepresentation or any

false, incomplete or misleading information may be guilty of a criminal act

punishable under law and may be subject to civil penalties.”



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      418. Through the submission of patient records, invoices, HICFs, and other

medical documentation to Allstate via the interstate wires and the U.S. Mail, the

defendants attested to the fact, lawfulness, and medical necessity of the visits,

examinations, screenings, testing, procedures, and ancillary services for which they

billed Allstate.

      419. As the defendants did not render lawful and reasonably necessary

medical treatment and services, and misrepresented the treatment and services

purportedly performed, each bill and accompanying documentation faxed or mailed

by or on behalf of the defendants to Allstate constitutes a material misrepresentation.

      420. As licensed medical professionals, defendants Kallil Kazan, Khanafer,

Salameh, and Huraibi were obligated, legally and ethically, to act honestly, with

integrity, and in accordance with their professional oaths and pledges.

      421. Each misrepresentation made by Kallil Kazan, Khanafer, Salameh, and

Huraibi was in violation of their legal and ethical obligations as healthcare

professionals.

      B.     ALLSTATE’S JUSTIFIABLE RELIANCE

      422. The facially valid documents submitted to Allstate by the defendants

were designed to, and did in fact, induce Allstate to rely on the documents.

      423. At all relevant times, the defendants concealed from Allstate details

regarding the fact, lawfulness, and medical necessity of services allegedly provided



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and referred by them to prevent Allstate from discovering that the claims submitted

by and on behalf of the defendants were not compensable under the No-Fault Act.

      424. These      misrepresentations        include   submitting   false   medical

documentation, including HICFs, documenting the fact, lawfulness, and necessity of

medical treatment, testing, and services in order to seek payment under Michigan’s

No-Fault Act.

      425. Evidence of the fraudulent scheme detailed in this Complaint was not

discovered until after patterns had emerged and Allstate began to investigate the

defendants, revealing the true nature and full scope of their fraudulent scheme.

      426. Due to the defendants’ material misrepresentations and other

affirmative acts designed to conceal their fraudulent scheme, Allstate did not and

could not have discovered that its damages were attributable to fraud until shortly

before it filed this Complaint.

      427. In reliance on the defendants’ misrepresentations, Allstate paid money

to the defendants to its detriment.

      428. Allstate would not have paid these monies had the defendants provided

true and accurate information about the fact, lawfulness, and necessity of the

referrals and medical services provided.




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          429. As a result, Allstate has paid in excess of $1,334,135 to the defendants

in reasonable reliance on the false medical documentation and false representations

regarding the defendants’ eligibility for payment under the Michigan No-Fault Act.

XII. MAIL AND WIRE FRAUD RACKETEERING ACTIVITY

          430. As discussed above, the referrals, treatment, and services billed by the

defendants were not medically necessary, were unlawful, and were fraudulently

billed.

          431. The objective of the scheme to defraud Allstate, which occurred

throughout the period noted in Exhibits 1 through 6, was to collect No-Fault benefits

to which the defendants were not entitled because the medical services rendered, if

at all, were not necessary and were not lawfully rendered, were fraudulently billed,

and were billed at excessive and unreasonable amounts.

          432. This objective necessarily required the submission of claims for

payment to Allstate.

          433. The defendants created, prepared, and submitted false medical

documentation and placed in a post office and authorized depository for mail matter

things to be sent and delivered by the United States Postal Service or sent through

faxes over interstate wires.

          434. All documents, medical records, notes, reports, HICFs, medical

diagnoses, letters, correspondence, and requests for payment in connection with the



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insurance claims referenced throughout this pleading traveled through interstate

wires or the U.S. Mail.

      435. All medical records and bills submitted through interstate wires by the

defendants were faxed from the defendants in Michigan to Allstate in Iowa.

      436. Allstate received all medical records and bills faxed to it by the

defendants in Iowa.

      437. Every automobile insurance claim detailed herein involved at least one

(1) use of the U.S. Mail, including the mailing of, among other things, the notice of

claim, initial policies, insurance payments, benefits payment checks, and the return

of the cancelled check drafts to the financial institution(s) from which the draft(s)

were drawn, as well as the return of check drafts to Allstate.

      438. It was foreseeable to the defendants that faxing bills and medical

records to Allstate would trigger mailings in furtherance of the scheme to defraud,

including actual payment of fraudulent bills via checks mailed by Allstate.

      439. Every payment at issue in this Complaint where Allstate was induced

to rely on the defendants’ false medical records and bills was tendered via a check

mailed by Allstate using the U.S. Mail.

      440. The fraudulent medical billing scheme detailed herein generated

thousands of mailings and faxes.




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      441. A chart highlighting representative examples of mail and wire fraud

arising from the defendants’ patient/business files is annexed hereto at Exhibit 7.

      442. As detailed herein, the defendants also submitted, caused to be

submitted, or knew medical documentation and claims for payment would be

submitted to Allstate via interstate wires or the U.S. Mail related to each exemplar

patient discussed in this Complaint.

      443. It was within the ordinary course of business for the Defendant Entities

to submit claims for No-Fault payments to insurance carriers like Allstate through

interstate wires and the U.S. Mail.

      444. Moreover, the business of providing medical services by each of the

Defendant Entities at issue herein is regularly conducted by fraudulently seeking

payment to which each Defendant Entity is not entitled through the use of fraudulent

communications sent via faxes and the U.S. Mail.

      445. In other words, discrete (claim- and patient-specific) instances of mail

and wire fraud are a regular way of doing business for each of the Defendant Entities.

      446. The Defendant Entities, at the direction and with the knowledge of their

owners and managers (the individual defendants), continue to submit claims for

payment to Allstate and, in some instances, continue to litigate against Allstate

seeking to collect on unpaid claims.

      447. Thus, the defendants’ commission of mail and wire fraud continues.



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      448. As all of the defendants named herein agreed that they would use (and,

in fact, did use) the mail in furtherance of their scheme to defraud Allstate by seeking

payment for services that are not compensable under the Michigan No-Fault Act,

these defendants committed mail fraud, as defined in 18 U.S.C. § 1341.

      449. As several of the defendants named herein agreed that they would use

(and, in fact, did use) faxes over interstate wires in furtherance of their scheme to

defraud Allstate by seeking payment for services that are not compensable under the

Michigan No-Fault Act, these defendants committed wire fraud, as defined in 18

U.S.C. § 1343.

      450. Allstate reasonably relied on the submissions it received from the

Defendant Entities, including the representative submissions set out in Exhibit 7

annexed hereto and identified in the exemplar claims above.

      451. As the defendants agreed to pursue the same criminal objective

(namely, mail and wire fraud), they committed a conspiracy within the meaning of

the RICO Act, 18 U.S.C. § 1962(d), and are therefore jointly and severally liable for

Allstate’s damages.

XIII. DAMAGES

      452. The pattern of fraudulent conduct by the defendants injured Allstate in

its business and property by reason of the aforesaid violations of law.




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       453. Although it is not necessary for Allstate to calculate damages with

specificity at this stage in the litigation, and Allstate’s damages continue to accrue,

Allstate’s injury includes, but is not limited to, compensatory damages in excess of

$1,334,135.

       454. Exhibits 8 through 13 annexed hereto and incorporated herein as if fully

set forth in their entirety, identify monies paid by Allstate to the defendants by date,

payor, patient claim number, check number, and amount.

       455. Exhibit 8 details payments made by Allstate to Applied Rehab.

       456. Exhibit 9 details payments made by Allstate to Elite Chiropractic.

       457. Exhibit 10 details payments made by Allstate to Core Health.

       458. Exhibit 11 details payments made by Allstate to Straightway.

       459. Exhibit 12 details payments made by Allstate to Huraibi Pain & Rehab

Institute.

       460. Exhibit 13 details payments made by Allstate to HS Management.

       461. Every claim identified in Exhibits 8 through 13 derives from an Allstate

insurance policy.

       462. Allstate’s claim for compensatory damages, as set out in Exhibits 8

through 13, does not include payment made with respect to any Assigned Claim

Facility/Michigan Automobile Insurance Placement Facility claimant.




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      463. Every payment identified in Exhibits 8 through 13 was made by Allstate

alone and Allstate has not been reimbursed for any of the payments itemized in

Exhibits 8 through 13.

      464. Moreover, every payment identified in Exhibits 8 through 13 derives

from a check sent by Allstate to the defendants through the U.S. Mail.

      465. As such, the defendants knew that the U.S. Mail would be used as part

of their scheme to defraud as the defendants only faxed and mailed medical records

and bills for the purpose of having Allstate rely on such documents and mail payment

in response thereto.

      466. Allstate also seeks damages, in an amount to be determined at trial,

related to the cost of claims handling/adjustment for claims mailed and faxed by the

defendants, which includes the cost of investigation to uncover the fraudulent nature

of the claims submitted by the defendants.

      467. Allstate investigated each of the defendants both individually and in

connection with the comprehensive scheme detailed herein and incurred

investigative and claims handling expenses with respect to each defendant.




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XIV. CAUSES OF ACTION

                                COUNT I
                  VIOLATIONS OF 18 U.S.C. § 1962(c)
                      (Applied Rehab Enterprise)
Against Elite Chiropractic Center, P.C., Straightway Transportation LLC,
 Hussein A. Huraibi, MD, PLLC d/b/a Huraibi Pain & Rehab Institute, HS
Management LLC, Kallil Kazan, D.C., Naim Khanafer, D.C., Naiel Salameh,
            D.C., Mohamad Kazan, and Hussein Huraibi, M.D.

      468. Allstate re-alleges, re-pleads, and incorporates by reference paragraphs

1 through 467 set forth above as if fully set forth herein.

      469. Applied Rehab constitutes an enterprise, as defined in 18 U.S.C.

§ 1961(4), engaged in, and the activities of which affect, interstate commerce.

      470. In connection with each of the claims identified in the within

Complaint, Elite Chiropractic, Straightway, Huraibi Pain & Rehab Institute, HS

Management, Kallil Kazan, Khanafer, Salameh, Mo Kazan, and Huraibi (“Count I

defendants”) intentionally caused to be prepared, faxed, and mailed false medical

documentation by Applied Rehab, or knew that such false medical documentation

would be faxed and mailed in the ordinary course of Applied Rehab’s business, or

should have reasonably foreseen that the faxing and mailing of such false medical

documentation by Applied Rehab would occur, in furtherance of the Count I

defendants’ scheme to defraud.

      471. The Count I defendants employed, knew, or should have foreseen that,

two (2) or more faxes and mailings would be sent to demand and receive payment



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from Allstate on certain dates, including, but not limited to, those dates identified in

the chart annexed hereto at Exhibit 7.

      472. Among other things, medical records, bills, invoices, applications for

insurance, applications for benefits, and premium checks were delivered to Allstate

through the U.S. Mail and/or interstate wires.

      473. Policies of insurance were delivered to insureds through the U.S. Mail.

      474. Payments to Applied Rehab from Allstate were transmitted through the

U.S. Mail.

      475. As documented above, the Count I defendants repeatedly and

intentionally submitted, caused to be submitted, or knew that documentation would

be submitted to Allstate for medical services that were purportedly performed by

Applied Rehab, which they knew would be billed by Applied Rehab, in order to

collect payment from Allstate under the personal injury protection benefits portion

of the Allstate policies and applicable provisions of the Michigan No-Fault Act.

      476. Kallil Kazan, Khanafer, and Salameh owned and managed Applied

Rehab and were responsible for all actions taken by Applied Rehab and its

representatives.

      477. Kallil Kazan, Khanafer, and Salameh rendered and facilitated the

excessive and medically unnecessary physical therapy treatment, when treatment

was in fact rendered, billed by Applied Rehab.



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      478. Elite Chiropractic and Salameh billed Allstate for excessive and

medically unnecessary chiropractic treatment, if provided at all, that created the

appearance of injury and permitted Applied Rehab to continue billing for excessive

and medically unnecessary physical therapy.

      479. Huraibi Pain & Rehab Institute, HS Management, and Huraibi provided

the medically unnecessary disability certificates and physical therapy prescriptions

that incentivized patients to keep returning and permitted Applied Rehab to continue

billing for excessive and medically unnecessary physical therapy.

      480. Straightway and Mo Kazan billed Allstate for allegedly transporting

patients to Applied Rehab, thereby ensuring that Applied Rehab could continue to

bill Allstate for excessive and medically unnecessary physical therapy.

      481. As a result of, and in reasonable reliance on, these misleading

documents and representations, Allstate, by its agents and employees, issued drafts

to Applied Rehab for the benefit of the Count I defendants that would not otherwise

have been paid.

      482. The Count I defendants’ pattern of submitting, causing to be submitted,

or knowing that fraudulent claims that appeared legitimate on their face would be

submitted prevented Allstate from discovering the fraudulent scheme for a long

period of time, thus enabling the Count I defendants to continue their fraudulent

scheme without detection.



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      483. By faxing and mailing, or agreeing that the interstate wires or the mails

would be used to submit, numerous fraudulent claims in an ongoing scheme, the

Count I defendants engaged in a pattern of racketeering activity within the meaning

of 18 U.S.C. § 1962(c).

      484. The activities alleged in this Complaint had the direct effect of causing

funds to be transferred from Allstate to Applied Rehab for the benefit of the Count I

defendants.

      485. The Count I defendants participated in the conduct of this enterprise

through a pattern of racketeering activities.

      486. Allstate is a “person,” as defined by 18 U.S.C. § 1961(3), injured in its

business or property by reason of the Count I defendants’ fraudulent acts.

      487. The Count I defendants’ conduct in violation of 18 U.S.C. § 1962(c)

was the direct and proximate cause of Allstate’s injury.

      488. Allstate (and all plaintiffs individually) is in the business of writing

insurance and paying claims in the State of Michigan.

      489. Insurance fraud schemes practiced here and elsewhere have a

deleterious impact on Allstate’s overall financial well-being and adversely affect

insurance rates.

      490. By virtue of the Count I defendants’ violation of 18 U.S.C. § 1962(c),

Allstate is entitled to recover from them three times the damages sustained by reason



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of the claims submitted, caused to be submitted, or known to be submitted by them,

and others acting in concert with them, together with the costs of suit, including

reasonable attorney’s fees.

                               COUNT II
                  VIOLATIONS OF 18 U.S.C. § 1962(d)
                      (Applied Rehab Enterprise)
Against Elite Chiropractic Center, P.C., Straightway Transportation LLC,
 Hussein A. Huraibi, MD, PLLC d/b/a Huraibi Pain & Rehab Institute, HS
Management LLC, Kallil Kazan, D.C., Naim Khanafer, D.C., Naiel Salameh,
            D.C., Mohamad Kazan, and Hussein Huraibi, M.D.

      491. Allstate re-alleges, re-pleads, and incorporates by reference paragraphs

1 through 467 set forth above as if fully set forth herein.

      492. Defendants Elite Chiropractic, Straightway, Huraibi Pain & Rehab

Institute, HS Management, Kallil Kazan, Khanafer, Salameh, Mo Kazan, and

Huraibi (“Count II defendants”) conspired with each other to violate 18 U.S.C. §

1962(c) through the facilitation of the operation of Applied Rehab.

      493. The Count II defendants each agreed to further, facilitate, support, and

operate the Applied Rehab enterprise.

      494. As such, the Count II defendants conspired to violate 18 U.S.C. §

1962(c).

      495. The purpose of the conspiracy was to obtain No-Fault payments from

Allstate on behalf of Applied Rehab even though Applied Rehab was not eligible to

collect No-Fault payments by virtue of its unlawful conduct.



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      496. The Count II defendants were aware of this purpose and agreed to take

steps to meet the conspiracy’s objectives, including the creation and submission to

Allstate of insurance claim and medical record documents containing material

misrepresentations.

      497. Allstate has been injured in its business and property by reason of this

conspiratorial conduct whereas Allstate has been induced to make No-Fault claim

payments as a result of the Count II defendants’ unlawful conduct described herein.

      498. By virtue of this violation of 18 U.S.C. § 1962(d), the Count II

defendants are jointly and severally liable to Allstate and Allstate is entitled to

recover from each three times the damages sustained by reason of the claims

submitted by or on behalf of the Count II defendants, and others acting in concert

with them, together with the costs of suit, including reasonable attorney’s fees.

                               COUNT III
                  VIOLATIONS OF 18 U.S.C. § 1962(c)
                     (Elite Chiropractic Enterprise)
  Against Applied Rehab & Physical Therapy LLC d/b/a Applied Rehab,
  Straightway Transportation LLC, Hussein A. Huraibi, MD, PLLC d/b/a
 Huraibi Pain & Rehab Institute, HS Management LLC, Kallil Kazan, D.C.,
       Naim Khanafer, D.C., Naiel Salameh, D.C., Mohamad Kazan,
                       and Hussein Huraibi, M.D.

      499. Allstate re-alleges, re-pleads, and incorporates by reference paragraphs

1 through 467 set forth above as if fully set forth herein.

      500. Elite Chiropractic constitutes an enterprise, as defined in 18 U.S.C.

§ 1961(4), engaged in, and the activities of which affect, interstate commerce.

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      501. In connection with each of the claims identified in the within

Complaint, Applied Rehab, Straightway, Huraibi Pain & Rehab Institute, HS

Management, Kallil Kazan, Khanafer, Salameh, Mo Kazan, and Huraibi (“Count III

defendants”) intentionally caused to be prepared, faxed, and mailed false medical

documentation by Elite Chiropractic, or knew that such false medical documentation

would be faxed and mailed in the ordinary course of Elite Chiropractic’s business,

or should have reasonably foreseen that the faxing and mailing of such false medical

documentation by Elite Chiropractic would occur, in furtherance of the Count III

defendants’ scheme to defraud.

      502. The Count III defendants employed, knew, or should have foreseen that

two (2) or more faxes and mailings would be sent to demand and receive payment

from Allstate on certain dates, including, but not limited to, those dates identified in

the chart annexed hereto at Exhibit 7.

      503. Among other things, medical records, bills, invoices, applications for

insurance, applications for benefits, and premium checks were delivered to Allstate

through the U.S. Mail and/or interstate wires.

      504. Policies of insurance were delivered to insureds through the U.S. Mail.

      505. Payments to Elite Chiropractic from Allstate were transmitted through

the U.S. Mail.




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      506. As documented above, the Count III defendants repeatedly and

intentionally submitted, caused to be submitted, or knew that documentation would

be submitted to Allstate for medical services that were purportedly performed by

Elite Chiropractic, which they knew would be billed by Elite Chiropractic, in order

to collect payment from Allstate under the personal injury protection benefits portion

of the Allstate policies and applicable provisions of the Michigan No-Fault Act.

      507. Kallil Kazan and Salameh owned and managed Elite Chiropractic and

were responsible for all actions taken by Elite Chiropractic and its employees.

      508. Applied Rehab, Kallil Kazan, Khanafer, and Salameh billed Allstate for

excessive and medically unnecessary physical therapy treatment, if provided at all,

that created the appearance of injury and permitted Elite Chiropractic to continue

billing for unlawful, excessive, and medically unnecessary chiropractic treatment.

      509. Huraibi Pain & Rehab Institute, HS Management, and their owner,

Huraibi, provided the medically unnecessary disability certificates and treatment

prescriptions that incentivized patients to keep returning and gave the appearance of

injury, which permitted Elite Chiropractic to continue billing for excessive and

medically unnecessary services.

      510. Straightway and Mo Kazan billed Allstate for allegedly transporting

patients to Elite Chiropractic, thereby ensuring that Elite Chiropractic could continue

to bill Allstate for excessive and medically unnecessary services.



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      511. As a result of, and in reasonable reliance on, these misleading

documents and representations, Allstate, by its agents and employees, issued drafts

to Elite Chiropractic for the benefit of the Count III defendants that would not

otherwise have been paid.

      512. The Count III defendants’ pattern of submitting, causing to be

submitted, or knowing that fraudulent claims that appeared legitimate on their face

would be submitted prevented Allstate from discovering the fraudulent scheme for

a long period of time, thus enabling the Count III defendants to continue their

fraudulent scheme without detection.

      513. By faxing and mailing, or agreeing that the interstate wires or the mails

would be used to submit, numerous fraudulent claims in an ongoing scheme, the

Count III defendants engaged in a pattern of racketeering activity within the meaning

of 18 U.S.C. § 1962(c)

      514. The activities alleged in this Complaint had the direct effect of causing

funds to be transferred from Allstate to Elite Chiropractic for the benefit of the Count

III defendants.

      515. The Count III defendants participated in the conduct of this enterprise

through a pattern of racketeering activities.

      516. Allstate is a “person,” as defined by 18 U.S.C. § 1961(3), injured in its

business or property by reason of the Count III defendants’ fraudulent acts.



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      517. The Count III defendants’ conduct in violation of 18 U.S.C. § 1962(c)

was the direct and proximate cause of Allstate’s injury.

      518. Allstate (and all plaintiffs individually) is in the business of writing

insurance and paying claims in the State of Michigan.

      519. Insurance fraud schemes practiced here and elsewhere have a

deleterious impact on Allstate’s overall financial well-being and adversely affect

insurance rates.

      520. By virtue of the Count III defendants’ violation of 18 U.S.C. § 1962(c),

Allstate is entitled to recover from them three times the damages sustained by reason

of the claims submitted, caused to be submitted, or known to be submitted by them,

and others acting in concert with them, together with the costs of suit, including

reasonable attorney’s fees.

                               COUNT IV
                 VIOLATIONS OF 18 U.S.C. § 1962(d)
                     (Elite Chiropractic Enterprise)
  Against Applied Rehab & Physical Therapy LLC d/b/a Applied Rehab,
  Straightway Transportation LLC, Hussein A. Huraibi, MD, PLLC d/b/a
 Huraibi Pain & Rehab Institute, HS Management LLC, Kallil Kazan, D.C.,
       Naim Khanafer, D.C., Naiel Salameh, D.C., Mohamad Kazan,
                       and Hussein Huraibi, M.D.

      521. Allstate re-alleges, re-pleads, and incorporates by reference paragraphs

1 through 467 set forth above as if fully set forth herein.

      522. Defendants Applied Rehab, Straightway, Huraibi Pain & Rehab

Institute, HS Management, Kallil Kazan, Khanafer, Salameh, Mo Kazan, and

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Huraibi (“Count IV defendants”) conspired with each other to violate 18 U.S.C. §

1962(c) through the facilitation of the operation of Elite Chiropractic.

      523. The Count IV defendants each agreed to further, facilitate, support, and

operate the Elite Chiropractic enterprise.

      524. As such, the Count IV defendants conspired to violate 18 U.S.C. §

1962(c).

      525. The purpose of the conspiracy was to obtain No-Fault payments from

Allstate on behalf of Elite Chiropractic even though Elite Chiropractic was not

eligible to collect No-Fault payments by virtue of its unlawful conduct.

      526. The Count IV defendants were aware of this purpose and agreed to take

steps to meet the conspiracy’s objectives, including the creation and submission to

Allstate of insurance claim and medical record documents containing material

misrepresentations.

      527. Allstate has been injured in its business and property by reason of this

conspiratorial conduct whereas Allstate has been induced to make No-Fault claim

payments as a result of the Count IV defendants’ unlawful conduct described herein.

      528. By virtue of this violation of 18 U.S.C. § 1962(d), the Count IV

defendants are jointly and severally liable to Allstate and Allstate is entitled to

recover from each three times the damages sustained by reason of the claims




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submitted by or on behalf of the Count IV defendants, and others acting in concert

with them, together with the costs of suit, including reasonable attorney’s fees.

                                COUNT V
                   VIOLATIONS OF 18 U.S.C. § 1962(c)
                         (Core Health Enterprise)
 Against Straightway Transportation LLC, Hussein A. Huraibi, MD, PLLC
 d/b/a Huraibi Pain & Rehab Institute, HS Management LLC, Kallil Kazan,
     D.C., Naim Khanafer, D.C., Naiel Salameh, D.C., Mohamad Kazan,
                        and Hussein Huraibi, M.D.

      529. Allstate re-alleges, re-pleads, and incorporates by reference paragraphs

1 through 467 set forth above as if fully set forth herein.

      530. Core Health constitutes an enterprise, as defined in 18 U.S.C.

§ 1961(4), engaged in, and the activities of which affect, interstate commerce.

      531. In connection with each of the claims identified in the within

Complaint, Straightway, Huraibi Pain & Rehab Institute, HS Management, Kallil

Kazan, Khanafer, Salameh, Mo Kazan, and Huraibi (“Count V defendants”)

intentionally caused to be prepared, faxed, and mailed false medical documentation

by Core Health, or knew that such false medical documentation would be faxed and

mailed in the ordinary course of Core Health’s business, or should have reasonably

foreseen that the faxing and mailing of such false medical documentation by Core

Health would occur, in furtherance of the Count V defendants’ scheme to defraud.

      532. The Count V defendants employed, knew, or should have foreseen that

two (2) or more faxes and mailings would be sent to demand and receive payment



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from Allstate on certain dates, including, but not limited to, those dates identified in

the chart annexed hereto at Exhibit 7.

      533. Among other things, medical records, bills, invoices, applications for

insurance, applications for benefits, and premium checks were delivered to Allstate

through the U.S. Mail and/or interstate wires.

      534. Policies of insurance were delivered to insureds through the U.S. Mail.

      535. Payments to Core Health from Allstate were transmitted through the

U.S. Mail.

      536. As documented above, the Count V defendants repeatedly and

intentionally submitted, caused to be submitted, or knew that documentation would

be submitted to Allstate for medical services that were purportedly performed by

Core Health, which they knew would be billed by Core Health, in order to collect

payment from Allstate under the personal injury protection benefits portion of the

Allstate policies and applicable provisions of the Michigan No-Fault Act.

      537. Khanafer owned and managed Core Health and was responsible for all

actions taken by Core Health and its representatives.

      538. Kallil Kazan, Khanafer, and Salameh rendered and facilitated unlawful

and medically unnecessary treatment, when treatment was in fact rendered, that was

billed to Allstate by Core Health.




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      539. Huraibi Pain & Rehab Institute, HS Management, and Huraibi provided

the medically unnecessary disability certificates and prescriptions that incentivized

patients to keep returning and that created the appearance of injury and permitted

Core Health to continue billing for unlawful and medically unnecessary treatment.

      540. Straightway and Mo Kazan billed Allstate for allegedly transporting

patients to Core Health, thereby ensuring that Core Health could continue to bill

Allstate.

      541. As a result of, and in reasonable reliance on, these misleading

documents and representations, Allstate, by its agents and employees, issued drafts

to Core Health for the benefit of the Count V defendants that would not otherwise

have been paid.

      542. The Count V defendants’ pattern of submitting, causing to be

submitted, or knowing that fraudulent claims that appeared legitimate on their face

would be submitted prevented Allstate from discovering the fraudulent scheme for

a long period of time, thus enabling the Count V defendants to continue their

fraudulent scheme without detection.

      543. By faxing and mailing, or agreeing that the interstate wires or the mails

would be used to submit, numerous fraudulent claims in an ongoing scheme, the

Count V defendants engaged in a pattern of racketeering activity within the meaning

of 18 U.S.C. § 1962(c).



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      544. The activities alleged in this Complaint had the direct effect of causing

funds to be transferred from Allstate to Core Health for the benefit of the Count V

defendants.

      545. The Count V defendants participated in the conduct of this enterprise

through a pattern of racketeering activities.

      546. Allstate is a “person,” as defined by 18 U.S.C. § 1961(3), injured in its

business or property by reason of the Count V defendants’ fraudulent acts.

      547. The Count V defendants’ conduct in violation of 18 U.S.C. § 1962(c)

was the direct and proximate cause of Allstate’s injury.

      548. Allstate (and all plaintiffs individually) is in the business of writing

insurance and paying claims in the State of Michigan.

      549. Insurance fraud schemes practiced here and elsewhere have a

deleterious impact on Allstate’s overall financial well-being and adversely affect

insurance rates.

      550. By virtue of the Count V defendants’ violation of 18 U.S.C. § 1962(c),

Allstate is entitled to recover from them three times the damages sustained by reason

of the claims submitted, caused to be submitted, or known to be submitted by them,

and others acting in concert with them, together with the costs of suit, including

reasonable attorney’s fees.




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                               COUNT VI
                   VIOLATIONS OF 18 U.S.C. § 1962(d)
                         (Core Health Enterprise)
 Against Straightway Transportation LLC, Hussein A. Huraibi, MD, PLLC
 d/b/a Huraibi Pain & Rehab Institute, HS Management LLC, Kallil Kazan,
     D.C., Naim Khanafer, D.C., Naiel Salameh, D.C., Mohamad Kazan,
                        and Hussein Huraibi, M.D.

      551. Allstate re-alleges, re-pleads, and incorporates by reference paragraphs

1 through 467 set forth above as if fully set forth herein.

      552. Defendants Straightway, Huraibi Pain & Rehab Institute, HS

Management, Kallil Kazan, Khanafer, Salameh, Mo Kazan, and Huraibi (“Count VI

defendants”) conspired with each other to violate 18 U.S.C. § 1962(c) through the

facilitation of the operation of Core Health.

      553. The Count VI defendants each agreed to further, facilitate, support, and

operate the Core Health enterprise.

      554. As such, the Count VI defendants conspired to violate 18 U.S.C. §

1962(c).

      555. The purpose of the conspiracy was to obtain No-Fault payments from

Allstate on behalf of Core Health even though Core Health was not eligible to collect

No-Fault payments by virtue of its unlawful conduct.

      556. The Count VI defendants were aware of this purpose and agreed to take

steps to meet the conspiracy’s objectives, including the creation and submission to




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Allstate of insurance claim and medical record documents containing material

misrepresentations.

      557. Allstate has been injured in its business and property by reason of this

conspiratorial conduct whereas Allstate has been induced to make No-Fault claim

payments as a result of the Count VI defendants’ unlawful conduct described herein.

      558. By virtue of this violation of 18 U.S.C. § 1962(d), the Count VI

defendants are jointly and severally liable to Allstate and Allstate is entitled to

recover from each three times the damages sustained by reason of the claims

submitted by or on behalf of the Count VI defendants, and others acting in concert

with them, together with the costs of suit, including reasonable attorney’s fees.

                               COUNT VII
                   VIOLATIONS OF 18 U.S.C. § 1962(c)
                  (Straightway Transportation Enterprise)
 Against Applied Rehab & Physical Therapy LLC d/b/a Applied Rehab, Core
   Health PLLC, Elite Chiropractic Center, P.C., Hussein A. Huraibi, MD,
  PLLC d/b/a Huraibi Pain & Rehab Institute, HS Management LLC, Kallil
 Kazan, D.C., Naim Khanafer, D.C., Naiel Salameh, D.C., Mohamad Kazan,
                         and Hussein Huraibi, M.D.

      559. Allstate re-alleges, re-pleads, and incorporates by reference paragraphs

1 through 467 set forth above as if fully set forth herein.

      560. Straightway constitutes an enterprise, as defined in 18 U.S.C. §

1961(4), engaged in, and the activities of which affect, interstate commerce.

      561. In connection with each of the claims identified in the within

Complaint, Applied Rehab, Core Health, Elite Chiropractic, Huraibi Pain & Rehab

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Institute, HS Management, Kallil Kazan, Khanafer, Salameh, Mo Kazan, and

Huraibi (“Count VII defendants”) intentionally caused to be prepared, faxed, and

mailed false documentation by Straightway, or knew that such false medical

documentation would be faxed and mailed in the ordinary course of Straightway’s

business, or should have reasonably foreseen that the faxing and mailing of such

false medical documentation by Straightway would occur, in furtherance of the

Count VII defendants’ scheme to defraud.

      562. The Count VII defendants employed, knew, or should have foreseen

that two (2) or more faxes and mailings would be sent to demand and receive

payment from Allstate on certain dates, including, but not limited to, those dates

identified in the chart annexed hereto at Exhibit 7.

      563. Among other things, medical records, bills, invoices, applications for

insurance, applications for benefits, and premium checks were delivered to Allstate

through the U.S. Mail and/or interstate wires.

      564. Policies of insurance were delivered to insureds through the U.S. Mail.

      565. Payments to Straightway from Allstate were transmitted through the

U.S. Mail.

      566. As documented above, the Count VII defendants repeatedly and

intentionally submitted, caused to be submitted, or knew that documentation would

be submitted to Allstate for medical transportation services that were purportedly



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provided by Straightway, which they knew would be billed by Straightway, in order

to collect payment from Allstate under the personal injury protection benefits portion

of the Allstate policies and applicable provisions of the Michigan No-Fault Act.

      567. Mo Kazan owned and managed Straightway and was responsible for all

actions taken by Straightway and its drivers.

      568. Huraibi Pain & Rehab Institute, HS Management, and Huraibi billed

Allstate for office visits where patients were issued medically unnecessary disability

certificates for non-emergency medical transportation services that were billed to

Allstate by Straightway.

      569. Applied Rehab, Elite Chiropractic, Core Health, Kallil Kazan,

Khanafer, and Salameh used Straightway to coerce patients to appear at their clinics

and permitted Straightway to bill Allstate for the medically unnecessary and

unlawful transportation to and from their clinics.

      570. As a result of, and in reasonable reliance on, these misleading

documents and representations, Allstate, by its agents and employees, issued drafts

to Straightway for the benefit of the Count VII defendants that would not otherwise

have been paid.

      571. The Count VII defendants’ pattern of submitting, causing to be

submitted, or knowing that fraudulent claims that appeared legitimate on their face

would be submitted prevented Allstate from discovering the fraudulent scheme for



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 a long period of time, thus enabling the Count VII defendants to continue their

 fraudulent scheme without detection.

       572. By faxing and mailing, or agreeing that the interstate wires or the mails

 would be used to submit, numerous fraudulent claims in an ongoing scheme, the

 Count VII defendants engaged in a pattern of racketeering activity within the

 meaning of 18 U.S.C. § 1962(c).

       573. The activities alleged in this Complaint had the direct effect of causing

 funds to be transferred from Allstate to Straightway for the benefit of the Count VII

 defendants.

       574. The Count VII defendants participated in the conduct of this enterprise

 through a pattern of racketeering activities.

       575. Allstate is a “person,” as defined by 18 U.S.C. § 1961(3), injured in its

 business or property by reason of the Count VII defendants’ fraudulent acts.

       576. The Count VII defendants’ conduct in violation of 18 U.S.C. § 1962(c)

 was the direct and proximate cause of Allstate’s injury.

       577. Allstate (and all plaintiffs individually) is in the business of writing

 insurance and paying claims in the State of Michigan.

       578. Insurance fraud schemes practiced here and elsewhere have a

 deleterious impact on Allstate’s overall financial well-being and adversely affect

 insurance rates.



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       579. By virtue of the Count VII defendants’ violation of 18 U.S.C. § 1962(c),

 Allstate is entitled to recover from them three times the damages sustained by reason

 of the claims submitted, caused to be submitted, or known to be submitted by them,

 and others acting in concert with them, together with the costs of suit, including

 reasonable attorney’s fees.

                                COUNT VIII
                    VIOLATIONS OF 18 U.S.C. § 1962(d)
                   (Straightway Transportation Enterprise)
  Against Applied Rehab & Physical Therapy LLC d/b/a Applied Rehab, Core
    Health PLLC, Elite Chiropractic Center, P.C., Hussein A. Huraibi, MD,
   PLLC d/b/a Huraibi Pain & Rehab Institute, HS Management LLC, Kallil
  Kazan, D.C., Naim Khanafer, D.C., Naiel Salameh, D.C., Mohamad Kazan,
                          and Hussein Huraibi, M.D.

       580. Allstate re-alleges, re-pleads, and incorporates by reference paragraphs

 1 through 467 set forth above as if fully set forth herein.

       581. Defendants Applied Rehab, Core Health, Elite Chiropractic, Huraibi

 Pain & Rehab Institute, HS Management, Kallil Kazan, Khanafer, Salameh, Mo

 Kazan, and Huraibi (“Count VIII defendants”) conspired with each other to violate

 18 U.S.C. § 1962(c) through the facilitation of the operation of Straightway.

       582. The Count VIII defendants each agreed to further, facilitate, support,

 and operate the Straightway enterprise.

       583. As such, the Count VIII defendants conspired to violate 18 U.S.C. §

 1962(c).




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       584. The purpose of the conspiracy was to obtain No-Fault payments from

 Allstate on behalf of Straightway even though Straightway was not eligible to collect

 No-Fault payments by virtue of its unlawful conduct.

       585. The Count VIII defendants were aware of this purpose and agreed to

 take steps to meet the conspiracy’s objectives, including the creation and submission

 to Allstate of insurance claim and medical record documents containing material

 misrepresentations.

       586. Allstate has been injured in its business and property by reason of this

 conspiratorial conduct whereas Allstate has been induced to make No-Fault claim

 payments as a result of the Count VIII defendants’ unlawful conduct described

 herein.

       587. By virtue of this violation of 18 U.S.C. § 1962(d), the Count VIII

 defendants are jointly and severally liable to Allstate and Allstate is entitled to

 recover from each three times the damages sustained by reason of the claims

 submitted by or on behalf of the Count VIII defendants, and others acting in concert

 with them, together with the costs of suit, including reasonable attorney’s fees.




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                                COUNT IX
                    VIOLATIONS OF 18 U.S.C. § 1962(c)
                 (Huraibi Pain & Rehab Institute Enterprise)
  Against Applied Rehab & Physical Therapy LLC d/b/a Applied Rehab, Core
  Health PLLC, Elite Chiropractic Center, P.C., Straightway Transportation
  LLC, HS Management LLC, Kallil Kazan, D.C., Naim Khanafer, D.C., Naiel
         Salameh, D.C., Mohamad Kazan, and Hussein Huraibi, M.D.

       588. Allstate re-alleges, re-pleads, and incorporates by reference paragraphs

 1 through 467 set forth above as if fully set forth herein.

       589. Huraibi Pain & Rehab Institute constitutes an enterprise, as defined in

 18 U.S.C. § 1961(4), engaged in, and the activities of which affect, interstate

 commerce.

       590. In connection with each of the claims identified in the within

 Complaint, Applied Rehab, Core Health, Elite Chiropractic, Straightway, HS

 Management, Kallil Kazan, Khanafer, Salameh, Mo Kazan, and Huraibi (“Count IX

 defendants”) intentionally caused to be prepared, faxed, and mailed false medical

 documentation by Huraibi Pain & Rehab Institute, or knew that such false medical

 documentation would be faxed and mailed in the ordinary course of Huraibi Pain &

 Rehab Institute’s business, or should have reasonably foreseen that the faxing and

 mailing of such false medical documentation by Huraibi Pain & Rehab Institute

 would occur, in furtherance of the Count IX defendants’ scheme to defraud.

       591. The Count IX defendants employed, knew, or should have foreseen that

 two (2) or more faxes and mailings would be sent to demand and receive payment



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 from Allstate on certain dates, including, but not limited to, those dates identified in

 the chart annexed hereto at Exhibit 7.

       592. Among other things, medical records, bills, invoices, applications for

 insurance, applications for benefits, and premium checks were delivered to Allstate

 through the U.S. Mail and/or interstate wires.

       593. Policies of insurance were delivered to insureds through the U.S. Mail.

       594. Payments to Huraibi Pain & Rehab Institute from Allstate were

 transmitted through the U.S. Mail.

       595. As documented above, the Count IX defendants repeatedly and

 intentionally submitted, caused to be submitted, or knew that documentation would

 be submitted to Allstate for medical services that were purportedly performed by

 Huraibi Pain & Rehab Institute, which they knew would be billed by Huraibi Pain

 & Rehab Institute, in order to collect payment from Allstate under the personal injury

 protection benefits portion of the Allstate policies and applicable provisions of the

 Michigan No-Fault Act.

       596. Huraibi owned and managed Huraibi Pain & Rehab Institute and was

 responsible for all actions taken by Huraibi Pain & Rehab Institute and its

 representatives.




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        597. Huraibi rendered and facilitated unlawful and medically unnecessary

 treatment, when treatment was in fact rendered, billed by Huraibi Pain & Rehab

 Institute.

        598. Huraibi owned and managed Huraibi Pain & Rehab Institute and was

 responsible for all actions taken by Huraibi Pain & Rehab Institute and its

 representatives.

        599. Applied Rehab, Elite Chiropractic, Core Health, Kallil Kazan,

 Khanafer, and Salameh billed Allstate for unlawful, excessive, and medically

 unnecessary treatment, if provided at all, that created the appearance of injury and

 routinely sent their patients to Huraibi Pain & Rehab Institute in order to receive

 (unnecessary) prescriptions and certificates, which also allowed Huraibi Pain &

 Rehab Institute to continue billing for unlawful and medically unnecessary

 treatment.

        600. Straightway and Mo Kazan allegedly transported patients to Huraibi

 Pain & Rehab Institute, thereby ensuring that Huraibi Pain & Rehab Institute could

 continue to bill Allstate.

        601. HS Management and Huraibi billed Allstate for office visits where

 patients were issued medically unnecessary disability certificates and physical

 therapy prescriptions, injections, procedures, and various other treatment, if

 provided at all, that created the appearance of injury and permitted Huraibi Pain &



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 Rehab Institute to continue billing for unlawful and medically unnecessary

 treatment.

       602. As a result of, and in reasonable reliance on, these misleading

 documents and representations, Allstate, by its agents and employees, issued drafts

 to Huraibi Pain & Rehab Institute for the benefit of the Count IX defendants that

 would not otherwise have been paid.

       603. The Count IX defendants’ pattern of submitting, causing to be

 submitted, or knowing that fraudulent claims that appeared legitimate on their face

 would be submitted prevented Allstate from discovering the fraudulent scheme for

 a long period of time, thus enabling the Count IX defendants to continue their

 fraudulent scheme without detection.

       604. By faxing and mailing, or agreeing that the interstate wires or the mails

 would be used to submit, numerous fraudulent claims in an ongoing scheme, the

 Count IX defendants engaged in a pattern of racketeering activity within the meaning

 of 18 U.S.C. § 1962(c).

       605. The activities alleged in this Complaint had the direct effect of causing

 funds to be transferred from Allstate to Huraibi Pain & Rehab Institute for the benefit

 of the Count IX defendants.

       606. The Count IX defendants participated in the conduct of this enterprise

 through a pattern of racketeering activities.



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       607. Allstate is a “person,” as defined by 18 U.S.C. § 1961(3), injured in its

 business or property by reason of the Count IX defendants’ fraudulent acts.

       608. The Count IX defendants’ conduct in violation of 18 U.S.C. § 1962(c)

 was the direct and proximate cause of Allstate’s injury.

       609. Allstate (and all plaintiffs individually) is in the business of writing

 insurance and paying claims in the State of Michigan.

       610. Insurance fraud schemes practiced here and elsewhere have a

 deleterious impact on Allstate’s overall financial well-being and adversely affect

 insurance rates.

       611. By virtue of the Count IX defendants’ violation of 18 U.S.C. § 1962(c),

 Allstate is entitled to recover from them three times the damages sustained by reason

 of the claims submitted, caused to be submitted, or known to be submitted by them,

 and others acting in concert with them, together with the costs of suit, including

 reasonable attorney’s fees.

                                 COUNT X
                    VIOLATIONS OF 18 U.S.C. § 1962(d)
                 (Huraibi Pain & Rehab Institute Enterprise)
  Against Applied Rehab & Physical Therapy LLC d/b/a Applied Rehab, Core
  Health PLLC, Elite Chiropractic Center, P.C., Straightway Transportation
  LLC, HS Management LLC, Kallil Kazan, D.C., Naim Khanafer, D.C., Naiel
         Salameh, D.C., Mohamad Kazan, and Hussein Huraibi, M.D.

       612. Allstate re-alleges, re-pleads, and incorporates by reference paragraphs

 1 through 467 set forth above as if fully set forth herein.



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       613. Defendants Applied Rehab, Core Health, Elite Chiropractic,

 Straightway, HS Management, Kallil Kazan, Khanafer, Salameh, Mo Kazan, and

 Huraibi (“Count X defendants”) conspired with each other to violate 18 U.S.C. §

 1962(c) through the facilitation of the operation of Huraibi Pain & Rehab Institute.

       614. The Count X defendants each agreed to further, facilitate, support, and

 operate the Huraibi Pain & Rehab Institute enterprise.

       615. As such, the Count X defendants conspired to violate 18 U.S.C. §

 1962(c).

       616. The purpose of the conspiracy was to obtain No-Fault payments from

 Allstate on behalf of Huraibi Pain & Rehab Institute even though Huraibi Pain &

 Rehab Institute was not eligible to collect No-Fault payments by virtue of its

 unlawful conduct.

       617. The Count X defendants were aware of this purpose and agreed to take

 steps to meet the conspiracy’s objectives, including the creation and submission to

 Allstate of insurance claim and medical record documents containing material

 misrepresentations.

       618. Allstate has been injured in its business and property by reason of this

 conspiratorial conduct whereas Allstate has been induced to make No-Fault claim

 payments as a result of the Count X defendants’ unlawful conduct described herein.




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       619. By virtue of this violation of 18 U.S.C. § 1962(d), the Count X

 defendants are jointly and severally liable to Allstate and Allstate is entitled to

 recover from each three times the damages sustained by reason of the claims

 submitted by or on behalf of the Count X defendants, and others acting in concert

 with them, together with the costs of suit, including reasonable attorney’s fees.

                                 COUNT XI
                    VIOLATIONS OF 18 U.S.C. § 1962(c)
                         (HS Management Enterprise)
  Against Applied Rehab & Physical Therapy LLC d/b/a Applied Rehab, Core
  Health PLLC, Elite Chiropractic Center, P.C., Straightway Transportation
  LLC, Hussein A. Huraibi, MD, PLLC d/b/a Huraibi Pain & Rehab Institute,
   Kallil Kazan, D.C., Naim Khanafer, D.C., Naiel Salameh, D.C., Mohamad
                       Kazan, and Hussein Huraibi, M.D.

       620. Allstate re-alleges, re-pleads, and incorporates by reference paragraphs

 1 through 467 set forth above as if fully set forth herein.

       621. HS Management constitutes an enterprise, as defined in 18 U.S.C.

 § 1961(4), engaged in, and the activities of which affect, interstate commerce.

       622. In connection with each of the claims identified in the within

 Complaint, Applied Rehab, Core Health, Elite Chiropractic, Straightway, Huraibi

 Pain & Rehab Institute, Kallil Kazan, Khanafer, Salameh, Mo Kazan, and Huraibi

 (“Count XI defendants”) intentionally caused to be prepared, faxed, and mailed false

 medical documentation by HS Management, or knew that such false medical

 documentation would be faxed and mailed in the ordinary course of HS

 Management’s business, or should have reasonably foreseen that the faxing and

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 mailing of such false medical documentation by HS Management would occur, in

 furtherance of the Count XI defendants’ scheme to defraud.

       623. The Count XI defendants employed, knew, or should have foreseen that

 two (2) or more faxes and mailings would be sent to demand and receive payment

 from Allstate on certain dates, including, but not limited to, those dates identified in

 the chart annexed hereto at Exhibit 7.

       624. Among other things, medical records, bills, invoices, applications for

 insurance, applications for benefits, and premium checks were delivered to Allstate

 through the U.S. Mail and/or interstate wires.

       625. Policies of insurance were delivered to insureds through the U.S. Mail.

       626. Payments to HS Management from Allstate were transmitted through

 the U.S. Mail.

       627. As documented above, the Count XI defendants repeatedly and

 intentionally submitted, caused to be submitted, or knew that documentation would

 be submitted to Allstate for medical services that were purportedly performed by HS

 Management, which they knew would be billed by HS Management, in order to

 collect payment from Allstate under the personal injury protection benefits portion

 of the Allstate policies and applicable provisions of the Michigan No-Fault Act.

       628. Huraibi owned and managed HS Management and was responsible for

 all actions taken by HS Management and its representatives.



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       629. Huraibi rendered and facilitated unlawful and medically unnecessary

 treatment, when treatment was in fact rendered, billed by HS Management.

       630. Applied Rehab, Elite Chiropractic, Core Health, Kallil Kazan,

 Khanafer, and Salameh billed Allstate for unlawful, excessive, and medically

 unnecessary treatment, if provided at all, that created the appearance of injury and

 routinely sent their patients to HS Management in order to receive (unnecessary)

 prescriptions and certificates, which also allowed HS Management to continue

 billing for unlawful and medically unnecessary treatment.

       631. Straightway and Mo Kazan allegedly transported patients to HS

 Management, thereby ensuring that HS Management could continue to bill Allstate.

       632. Huraibi Pain & Rehab Institute and Huraibi billed Allstate for office

 visits where patients were issued medically unnecessary disability certificates and

 physical therapy prescriptions, injections, procedures, and various other treatment,

 if provided at all, that created the appearance of injury and permitted HS

 Management to continue billing for unlawful and medically unnecessary treatment.

       633. As a result of, and in reasonable reliance on, these misleading

 documents and representations, Allstate, by its agents and employees, issued drafts

 to HS Management for the benefit of the Count XI defendants that would not

 otherwise have been paid.




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       634. The Count XI defendants’ pattern of submitting, causing to be

 submitted, or knowing that fraudulent claims that appeared legitimate on their face

 would be submitted prevented Allstate from discovering the fraudulent scheme for

 a long period of time, thus enabling the Count XI defendants to continue their

 fraudulent scheme without detection.

       635. By faxing and mailing, or agreeing that the interstate wires or the mails

 would be used to submit, numerous fraudulent claims in an ongoing scheme, the

 Count XI defendants engaged in a pattern of racketeering activity within the meaning

 of 18 U.S.C. § 1962(c).

       636. The activities alleged in this Complaint had the direct effect of causing

 funds to be transferred from Allstate to HS Management for the benefit of the Count

 XI defendants.

       637. The Count XI defendants participated in the conduct of this enterprise

 through a pattern of racketeering activities.

       638. Allstate is a “person,” as defined by 18 U.S.C. § 1961(3), injured in its

 business or property by reason of the Count XI defendants’ fraudulent acts.

       639. The Count XI defendants’ conduct in violation of 18 U.S.C. § 1962(c)

 was the direct and proximate cause of Allstate’s injury.

       640. Allstate (and all plaintiffs individually) is in the business of writing

 insurance and paying claims in the State of Michigan.



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       641. Insurance fraud schemes practiced here and elsewhere have a

 deleterious impact on Allstate’s overall financial well-being and adversely affect

 insurance rates.

       642. By virtue of the Count XI defendants’ violation of 18 U.S.C. § 1962(c),

 Allstate is entitled to recover from them three times the damages sustained by reason

 of the claims submitted, caused to be submitted, or known to be submitted by them,

 and others acting in concert with them, together with the costs of suit, including

 reasonable attorney’s fees.

                                 COUNT XII
                    VIOLATIONS OF 18 U.S.C. § 1962(d)
                         (HS Management Enterprise)
  Against Applied Rehab & Physical Therapy LLC d/b/a Applied Rehab, Core
  Health PLLC, Elite Chiropractic Center, P.C., Straightway Transportation
  LLC, Hussein A. Huraibi, MD, PLLC d/b/a Huraibi Pain & Rehab Institute,
   Kallil Kazan, D.C., Naim Khanafer, D.C., Naiel Salameh, D.C., Mohamad
                       Kazan, and Hussein Huraibi, M.D.

       643. Allstate re-alleges, re-pleads, and incorporates by reference paragraphs

 1 through 467 set forth above as if fully set forth herein.

       644. Defendants Applied Rehab, Core Health, Elite Chiropractic,

 Straightway, Huraibi Pain & Rehab Institute, Kallil Kazan, Khanafer, Salameh, Mo

 Kazan, and Huraibi (“Count XII defendants”) conspired with each other to violate

 18 U.S.C. § 1962(c) through the facilitation of the operation of HS Management.

       645. The Count XII defendants each agreed to further, facilitate, support,

 and operate the HS Management enterprise.

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       646. As such, the Count XII defendants conspired to violate 18 U.S.C. §

 1962(c).

       647. The purpose of the conspiracy was to obtain No-Fault payments from

 Allstate on behalf of HS Management even though HS Management was not eligible

 to collect No-Fault payments by virtue of its unlawful conduct.

       648. The Count XII defendants were aware of this purpose and agreed to

 take steps to meet the conspiracy’s objectives, including the creation and submission

 to Allstate of insurance claim and medical record documents containing material

 misrepresentations.

       649. Allstate has been injured in its business and property by reason of this

 conspiratorial conduct whereas Allstate has been induced to make No-Fault claim

 payments as a result of the Count XII defendants’ unlawful conduct described

 herein.

       650. By virtue of this violation of 18 U.S.C. § 1962(d), the Count XII

 defendants are jointly and severally liable to Allstate and Allstate is entitled to

 recover from each three times the damages sustained by reason of the claims

 submitted by or on behalf of the Count XII defendants, and others acting in concert

 with them, together with the costs of suit, including reasonable attorney’s fees.




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                                   COUNT XIII
                              COMMON LAW FRAUD
                               Against All Defendants

       651. Allstate re-alleges, re-pleads, and incorporates by reference paragraphs

 1 through 467 set forth above as if fully set forth herein.

       652. The scheme to defraud perpetrated by Applied Rehab, Elite

 Chiropractic, Core Health, Straightway, Huraibi Pain & Rehab Institute, HS

 Management, Kallil Kazan, Khanafer, Salameh, Mo Kazan, and Huraibi (“Count

 XIII defendants”) was dependent upon a succession of material misrepresentations

 of fact that the defendants were lawfully and actually providing necessary services

 in compliance with the Michigan No-Fault Act and were entitled to collect benefits

 thereunder.

       653. The misrepresentations of fact made by the Count XIII defendants

 include, but are not limited to, those material misrepresentations discussed in section

 XI supra.

       654. The Count XIII defendants’ representations were false or required

 disclosure of additional facts to render the information furnished not misleading.

       655. The misrepresentations were intentionally made by the Count XIII

 defendants in furtherance of their scheme to defraud Allstate by submitting, causing

 to be submitted, or knowing that non-compensable claims for payment under the

 Michigan No-Fault Act would be submitted to Allstate.



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       656. The Count XIII defendants’ misrepresentations were known to be false

 and were made for the purpose of inducing Allstate to make payments for claims

 that are not compensable under Michigan law.

       657. Allstate reasonably relied upon such material misrepresentations to its

 detriment in paying numerous non-meritorious bills for alleged medical expenses

 pursuant to No-Fault insurance claims and in incurring expenses related to the

 adjustment and processing of claims submitted by the defendants.

       658. As a direct and proximate result of the defendants’ fraudulent

 representations and acts, Allstate has been damaged in its business and property as

 previously described herein.

                                    COUNT XIV
                                CIVIL CONSPIRACY
                                Against All Defendants

       659. Allstate re-alleges, re-pleads, and incorporates by reference paragraphs

 1 through 467 set forth above as if fully set forth herein.

       660. Defendants Applied Rehab, Elite Chiropractic, Core Health,

 Straightway, Huraibi Pain & Rehab Institute, HS Management, Kallil Kazan,

 Khanafer, Salameh, Mo Kazan, and Huraibi (“Count XIV defendants”) combined

 and concerted to accomplish the unlawful purpose of defrauding Allstate by

 submitting claims for payment under the No-Fault Act to which they were not

 entitled because (1) the defendants did not actually render the treatment for which



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 claims were submitted, (2) the defendants did not provide reasonably necessary

 medical treatment, (3) the defendants did not lawfully render treatment, and (4) the

 defendants did not submit reasonable charges to Allstate.

       661. The Count XIV defendants worked together to achieve an unlawful

 purpose (namely, defrauding Allstate for personal gain).

       662. This purpose was known to all of the Count XIV defendants and

 intentionally pursued.

       663. Despite knowing that the defendants were not entitled to payment under

 the No-Fault Act because they billed for services that were not actually provided,

 because they billed for services that were not reasonably necessary, because

 treatment was not lawfully rendered, and because they charged outrageous and

 unreasonable prices, the Count XIV defendants nonetheless submitted, caused to be

 submitted, or knew that claims would be submitted (with accompanying false

 medical documentation) to Allstate seeking payment to the defendants.

       664. In reasonable reliance on the false medical documentation submitted by

 the defendants, Allstate paid certain of the claims submitted.

       665. All of the Count XIV defendants directly benefited from the payments

 made to Applied Rehab, Elite Chiropractic, Core Health, Straightway, Huraibi Pain

 & Rehab Institute, and HS Management.




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       666. All of the Count XIV defendants actively and intentionally partook in

 a scheme to defraud Allstate and also encouraged and aided other Count XIV

 defendants in the commission of acts done for the benefit of all Count XIV

 defendants and to the unjustified detriment of Allstate.

       667. Accordingly, all of the Count XIV defendants are equally liable for the

 fraud perpetrated on Allstate pursuant to their conspiracy.

                                 COUNT XV
                  PAYMENT UNDER MISTAKE OF FACT
  Against Applied Rehab & Physical Therapy LLC d/b/a Applied Rehab, Elite
  Chiropractic Center, P.C., Core Health PLLC, Straightway Transportation
  LLC, Hussein A. Huraibi, MD, PLLC d/b/a Huraibi Pain & Rehab Institute,
                          and HS Management LLC

       668. Allstate re-alleges, re-pleads, and incorporates by reference paragraphs

 1 through 467 set forth above as if fully set forth herein.

       669. Allstate paid the amounts described herein and itemized in Exhibits 8

 through 13 under a misunderstanding, misapprehension, error, fault, or ignorance of

 material facts, namely, the scheme to defraud Allstate by misrepresenting the fact,

 lawfulness, and necessity of services purportedly provided and billed by Applied

 Rehab, Elite Chiropractic, Core Health, Straightway, Huraibi Pain & Rehab

 Institute, and HS Management (“Count XV defendants”).

       670. Allstate sustained damages by paying under a mistake of fact the claims

 submitted by the Count XV defendants, which misrepresented the fact,




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 reasonableness, necessity, and lawfulness of the medical services allegedly rendered

 and whether the patient’s injury arose out of a motor vehicle accident.

       671. The Count XV defendants, individually and jointly, would be unjustly

 enriched if permitted to retain the payments made to them by Allstate under a

 mistake of fact.

       672. Allstate is entitled to restitution from each of the Count XV defendants,

 individually and jointly, for all monies paid to and/or received by them from Allstate.

                                   COUNT XVI
                              UNJUST ENRICHMENT
                               Against All Defendants

       673. Allstate re-alleges, re-pleads, and incorporates by reference paragraphs

 1 through 467 set forth above as if fully set forth herein.

       674. Allstate paid monies, including those amounts set out in Exhibits 8

 through 13, in response to the claims submitted, or caused to be submitted, by

 defendants Applied Rehab, Elite Chiropractic, Core Health, Straightway, Huraibi

 Pain & Rehab Institute, HS Management, Kallil Kazan, Khanafer, Salameh, Mo

 Kazan, and Huraibi (“Count XVI defendants”) in reasonable belief that it was legally

 obligated to make such payments based upon the defendants’ fraudulent

 misrepresentations.

       675. Allstate’s payments constitute a benefit which the Count XVI

 defendants aggressively sought and voluntarily accepted.



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       676. The Count XVI defendants wrongfully obtained payments from

 Allstate through the fraudulent scheme detailed herein.

       677. The Count XVI defendants have been unjustly enriched by receipt of

 these wrongfully obtained payments from Allstate.

       678. The Count XVI defendants’ retention of these payments would violate

 fundamental principles of justice, equity, and good conscience.

                          COUNT XVII
          DECLARATORY RELIEF PURSUANT TO 28 U.S.C. § 2201
                      Against All Defendants

       679. Allstate re-alleges, re-pleads, and incorporates by reference paragraphs

 1 through 467 set forth above as if fully set forth herein.

       680. Defendants Applied Rehab, Elite Chiropractic, Core Health,

 Straightway, Huraibi Pain & Rehab Institute, HS Management, Kallil Kazan,

 Khanafer, Salameh, Mo Kazan, and Huraibi (“Count XVII defendants”) routinely

 billed for unnecessary and unlawful services with respect to the patients at issue in

 this Complaint.

       681. The Count XVII defendants also billed for services pursuant to a

 fraudulent scheme whereby patients were illegally solicited and referred to them for

 the purpose of generating claims to Allstate, and not for the purpose of providing

 reasonably necessary medical treatment, testing, or services.




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       682. Pursuant to the Michigan No-Fault Act, an insurer is liable to pay

 benefits only for reasonable and necessary expenses for lawfully rendered treatment

 arising out of a motor vehicle accident. Mich. Comp. Laws §§ 500.3105 and

 500.3107.

       683. The lack of reasonableness and necessity are defenses to an insurer’s

 obligation to pay No-Fault benefits arising out of a motor vehicle accident. Mich.

 Comp. Laws § 500.3107.

       684. The lack of lawfully-rendered treatment (such as treatment arising from

 illegal patient solicitation and unlicensed treatment) is also a defense to an insurer’s

 obligation to pay No-Fault benefits.

       685. Where a provider is unable to show that an expense has been incurred

 for a reasonably necessary product or service arising out of a motor vehicle accident,

 there can be no finding of a breach of the insurer’s duty to pay, and thus no finding

 of liability with regard to that expense.

       686. Further, providers may only charge a reasonable amount for the

 products, services, and accommodations rendered.             Mich. Comp. Laws §

 500.3157(1).

       687. The Count XVII defendants continue to submit claims under the No-

 Fault Act for unnecessary and unlawfully rendered medical services to Allstate, and

 other claims remain pending with Allstate.



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       688. The Count XVII defendants will continue to bill Allstate for No-Fault

 benefit payments absent a declaration by this Court that Allstate has no obligation

 to pay fraudulent pending and previously-denied No-Fault claims submitted by any

 of the Count XVII defendants for any or all of the reasons set out in the within

 Complaint.

       689. Accordingly, Allstate requests a judgment pursuant to the Declaratory

 Judgment Act, 28 U.S.C. § 2201, declaring that the Count XVII defendants billed

 for unnecessary and unlawful treatment that is not compensable under Michigan’s

 No-Fault Act.

       690. Allstate also requests a judgment pursuant to the Declaratory Judgment

 Act, 28 U.S.C. § 2201, declaring that the Count XVII defendants were engaged in a

 fraudulent scheme whereby they billed for unnecessary and unlawful treatment and

 submitted unreasonable charges for the same to Allstate at all relevant times.

       691. As such, the Count XVII defendants have no standing to submit,

 pursue, or receive No-Fault benefits or any other payment from Allstate, and Allstate

 requests a judgment pursuant to the Declaratory Judgment Act, 28 U.S.C. § 2201,

 declaring that the Count XVII defendants cannot seek payment from Allstate for

 benefits under Michigan’s No-Fault Act, Mich. Comp. Laws § 500.3101, et seq., any

 policy of insurance, any assignment of benefits, any lien of any nature, or any other

 claim for payment related to the conduct detailed in the within Complaint.



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       692. Allstate further requests a judgment pursuant to the Declaratory

 Judgment Act, 28 U.S.C. § 2201, declaring that the Count XVII defendants cannot

 balance bill or otherwise seek payment from any person insured under an Allstate

 policy or for whom Allstate is the responsible payor related to the fraudulent conduct

 detailed in the within Complaint.

 XV. DEMAND FOR RELIEF

       WHEREFORE, plaintiffs Allstate Insurance Company, Allstate Fire and

 Casualty Insurance Company, Allstate Property and Casualty Insurance Company,

 Esurance Insurance Company, and Esurance Property and Casualty Insurance

 Company respectfully pray that judgment enter in their favor as follows:

                                  COUNT I
                    VIOLATIONS OF 18 U.S.C. § 1962(c)
                        (Applied Rehab Enterprise)
  Against Elite Chiropractic Center, P.C., Straightway Transportation LLC,
   Hussein A. Huraibi, MD, PLLC d/b/a Huraibi Pain & Rehab Institute, HS
  Management LLC, Kallil Kazan, D.C., Naim Khanafer, D.C., Naiel Salameh,
              D.C., Mohamad Kazan, and Hussein Huraibi, M.D.

       (a)    AWARD Allstate its actual and consequential damages in an amount

 to be determined at trial;

       (b)    AWARD Allstate treble damages pursuant to 18 U.S.C. § 1964,

 together with interest, costs, and attorney’s fees;

       (c)    GRANT Allstate injunctive relief enjoining the defendants from

 engaging in the wrongful conduct alleged in the within Complaint; and



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       (d)    GRANT all other relief this Court deems just.

                                 COUNT II
                    VIOLATIONS OF 18 U.S.C. § 1962(d)
                        (Applied Rehab Enterprise)
  Against Elite Chiropractic Center, P.C., Straightway Transportation LLC,
   Hussein A. Huraibi, MD, PLLC d/b/a Huraibi Pain & Rehab Institute, HS
  Management LLC, Kallil Kazan, D.C., Naim Khanafer, D.C., Naiel Salameh,
              D.C., Mohamad Kazan, and Hussein Huraibi, M.D.

       (a)    AWARD Allstate its actual and consequential damages in an amount

 to be determined at trial;

       (b)    AWARD Allstate treble damages pursuant to 18 U.S.C. § 1964,

 together with interest, costs, and attorney’s fees;

       (c)    GRANT Allstate injunctive relief enjoining the defendants from

 engaging in the wrongful conduct alleged in the within Complaint; and

       (d)    GRANT all other relief this Court deems just.

                                COUNT III
                   VIOLATIONS OF 18 U.S.C. § 1962(c)
                      (Elite Chiropractic Enterprise)
   Against Applied Rehab & Physical Therapy LLC d/b/a Applied Rehab,
   Straightway Transportation LLC, Hussein A. Huraibi, MD, PLLC d/b/a
  Huraibi Pain & Rehab Institute, HS Management LLC, Kallil Kazan, D.C.,
        Naim Khanafer, D.C., Naiel Salameh, D.C., Mohamad Kazan,
                        and Hussein Huraibi, M.D.

       (a)    AWARD Allstate its actual and consequential damages in an amount

 to be determined at trial;

       (b)    AWARD Allstate treble damages pursuant to 18 U.S.C. § 1964,

 together with interest, costs, and attorney’s fees;

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       (c)    GRANT Allstate injunctive relief enjoining the defendants from

 engaging in the wrongful conduct alleged in the within Complaint; and

       (d)    GRANT all other relief this Court deems just.

                                COUNT IV
                  VIOLATIONS OF 18 U.S.C. § 1962(d)
                      (Elite Chiropractic Enterprise)
   Against Applied Rehab & Physical Therapy LLC d/b/a Applied Rehab,
   Straightway Transportation LLC, Hussein A. Huraibi, MD, PLLC d/b/a
  Huraibi Pain & Rehab Institute, HS Management LLC, Kallil Kazan, D.C.,
        Naim Khanafer, D.C., Naiel Salameh, D.C., Mohamad Kazan,
                        and Hussein Huraibi, M.D.

       (a)    AWARD Allstate its actual and consequential damages in an amount

 to be determined at trial;

       (b)    AWARD Allstate treble damages pursuant to 18 U.S.C. § 1964,

 together with interest, costs, and attorney’s fees;

       (c)    GRANT Allstate injunctive relief enjoining the defendants from

 engaging in the wrongful conduct alleged in the within Complaint; and

       (d)    GRANT all other relief this Court deems just.

                                 COUNT V
                    VIOLATIONS OF 18 U.S.C. § 1962(c)
                          (Core Health Enterprise)
  Against Straightway Transportation LLC, Hussein A. Huraibi, MD, PLLC
  d/b/a Huraibi Pain & Rehab Institute, HS Management LLC, Kallil Kazan,
      D.C., Naim Khanafer, D.C., Naiel Salameh, D.C., Mohamad Kazan,
                         and Hussein Huraibi, M.D.

       (a)    AWARD Allstate its actual and consequential damages in an amount

 to be determined at trial;

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       (b)    AWARD Allstate treble damages pursuant to 18 U.S.C. § 1964,

 together with interest, costs, and attorney’s fees;

       (c)    GRANT Allstate injunctive relief enjoining the defendants from

 engaging in the wrongful conduct alleged in the within Complaint; and

       (d)    GRANT all other relief this Court deems just.

                                COUNT VI
                    VIOLATIONS OF 18 U.S.C. § 1962(d)
                          (Core Health Enterprise)
  Against Straightway Transportation LLC, Hussein A. Huraibi, MD, PLLC
  d/b/a Huraibi Pain & Rehab Institute, HS Management LLC, Kallil Kazan,
      D.C., Naim Khanafer, D.C., Naiel Salameh, D.C., Mohamad Kazan,
                         and Hussein Huraibi, M.D.

       (a)    AWARD Allstate its actual and consequential damages in an amount

 to be determined at trial;

       (b)    AWARD Allstate treble damages pursuant to 18 U.S.C. § 1964,

 together with interest, costs, and attorney’s fees;

       (c)    GRANT Allstate injunctive relief enjoining the defendants from

 engaging in the wrongful conduct alleged in the within Complaint; and

       (d)    GRANT all other relief this Court deems just.




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                                COUNT VII
                    VIOLATIONS OF 18 U.S.C. § 1962(c)
                   (Straightway Transportation Enterprise)
  Against Applied Rehab & Physical Therapy LLC d/b/a Applied Rehab, Core
    Health PLLC, Elite Chiropractic Center, P.C., Hussein A. Huraibi, MD,
   PLLC d/b/a Huraibi Pain & Rehab Institute, HS Management LLC, Kallil
  Kazan, D.C., Naim Khanafer, D.C., Naiel Salameh, D.C., Mohamad Kazan,
                          and Hussein Huraibi, M.D.

       (a)    AWARD Allstate its actual and consequential damages in an amount

 to be determined at trial;

       (b)    AWARD Allstate treble damages pursuant to 18 U.S.C. § 1964,

 together with interest, costs, and attorney’s fees;

       (c)    GRANT Allstate injunctive relief enjoining the defendants from

 engaging in the wrongful conduct alleged in the within Complaint; and

       (d)    GRANT all other relief this Court deems just.

                                COUNT VIII
                    VIOLATIONS OF 18 U.S.C. § 1962(d)
                   (Straightway Transportation Enterprise)
  Against Applied Rehab & Physical Therapy LLC d/b/a Applied Rehab, Core
    Health PLLC, Elite Chiropractic Center, P.C., Hussein A. Huraibi, MD,
   PLLC d/b/a Huraibi Pain & Rehab Institute, HS Management LLC, Kallil
  Kazan, D.C., Naim Khanafer, D.C., Naiel Salameh, D.C., Mohamad Kazan,
                          and Hussein Huraibi, M.D.

       (a)    AWARD Allstate its actual and consequential damages in an amount

 to be determined at trial;

       (b)    AWARD Allstate treble damages pursuant to 18 U.S.C. § 1964,

 together with interest, costs, and attorney’s fees;



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       (c)    GRANT Allstate injunctive relief enjoining the defendants from

 engaging in the wrongful conduct alleged in the within Complaint; and

       (d)    GRANT all other relief this Court deems just.

                                COUNT IX
                    VIOLATIONS OF 18 U.S.C. § 1962(c)
                 (Huraibi Pain & Rehab Institute Enterprise)
  Against Applied Rehab & Physical Therapy LLC d/b/a Applied Rehab, Core
  Health PLLC, Elite Chiropractic Center, P.C., Straightway Transportation
  LLC, HS Management LLC, Kallil Kazan, D.C., Naim Khanafer, D.C., Naiel
         Salameh, D.C., Mohamad Kazan, and Hussein Huraibi, M.D.

       (a)    AWARD Allstate its actual and consequential damages in an amount

 to be determined at trial;

       (b)    AWARD Allstate treble damages pursuant to 18 U.S.C. § 1964,

 together with interest, costs, and attorney’s fees;

       (c)    GRANT Allstate injunctive relief enjoining the defendants from

 engaging in the wrongful conduct alleged in the within Complaint; and

       (d)    GRANT all other relief this Court deems just.

                                 COUNT X
                    VIOLATIONS OF 18 U.S.C. § 1962(d)
                 (Huraibi Pain & Rehab Institute Enterprise)
  Against Applied Rehab & Physical Therapy LLC d/b/a Applied Rehab, Core
  Health PLLC, Elite Chiropractic Center, P.C., Straightway Transportation
  LLC, HS Management LLC, Kallil Kazan, D.C., Naim Khanafer, D.C., Naiel
         Salameh, D.C., Mohamad Kazan, and Hussein Huraibi, M.D.

       (a)    AWARD Allstate its actual and consequential damages in an amount

 to be determined at trial;



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       (b)    AWARD Allstate treble damages pursuant to 18 U.S.C. § 1964,

 together with interest, costs, and attorney’s fees;

       (c)    GRANT Allstate injunctive relief enjoining the defendants from

 engaging in the wrongful conduct alleged in the within Complaint; and

       (d)    GRANT all other relief this Court deems just.

                                 COUNT XI
                    VIOLATIONS OF 18 U.S.C. § 1962(c)
                         (HS Management Enterprise)
  Against Applied Rehab & Physical Therapy LLC d/b/a Applied Rehab, Core
  Health PLLC, Elite Chiropractic Center, P.C., Straightway Transportation
  LLC, Hussein A. Huraibi, MD, PLLC d/b/a Huraibi Pain & Rehab Institute,
   Kallil Kazan, D.C., Naim Khanafer, D.C., Naiel Salameh, D.C., Mohamad
                       Kazan, and Hussein Huraibi, M.D.

       (a)    AWARD Allstate its actual and consequential damages in an amount

 to be determined at trial;

       (b)    AWARD Allstate treble damages pursuant to 18 U.S.C. § 1964,

 together with interest, costs, and attorney’s fees;

       (c)    GRANT Allstate injunctive relief enjoining the defendants from

 engaging in the wrongful conduct alleged in the within Complaint; and

       (d)    GRANT all other relief this Court deems just.




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                                 COUNT XII
                    VIOLATIONS OF 18 U.S.C. § 1962(d)
                         (HS Management Enterprise)
  Against Applied Rehab & Physical Therapy LLC d/b/a Applied Rehab, Core
  Health PLLC, Elite Chiropractic Center, P.C., Straightway Transportation
  LLC, Hussein A. Huraibi, MD, PLLC d/b/a Huraibi Pain & Rehab Institute,
   Kallil Kazan, D.C., Naim Khanafer, D.C., Naiel Salameh, D.C., Mohamad
                       Kazan, and Hussein Huraibi, M.D.

       (a)    AWARD Allstate its actual and consequential damages in an amount

 to be determined at trial;

       (b)    AWARD Allstate treble damages pursuant to 18 U.S.C. § 1964,

 together with interest, costs, and attorney’s fees;

       (c)    GRANT Allstate injunctive relief enjoining the defendants from

 engaging in the wrongful conduct alleged in the within Complaint; and

       (d)    GRANT all other relief this Court deems just.

                                   COUNT XIII
                              COMMON LAW FRAUD
                               Against All Defendants

       (a)    AWARD Allstate its actual and consequential damages against the

 defendants jointly and severally in an amount to be determined at trial;

       (b)    AWARD Allstate its costs, including, but not limited to, investigative

 costs incurred in the detection of the defendants’ illegal conduct; and

       (c)    GRANT all other relief this Court deems just.




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                                      COUNT XIV
                                  CIVIL CONSPIRACY
                                  Against All Defendants

       (a)    AWARD Allstate its actual and consequential damages against the

 defendants jointly and severally in an amount to be determined at trial;

       (b)    AWARD Allstate its costs, including, but not limited to, investigative

 costs incurred in the detection of the defendants’ illegal conduct; and

       (c)    GRANT all other relief this Court deems just.

                                 COUNT XV
                  PAYMENT UNDER MISTAKE OF FACT
  Against Applied Rehab & Physical Therapy LLC d/b/a Applied Rehab, Elite
  Chiropractic Center, P.C., Core Health PLLC, Straightway Transportation
  LLC, Hussein A. Huraibi, MD, PLLC d/b/a Huraibi Pain & Rehab Institute,
                          and HS Management LLC

       (a)    AWARD Allstate its actual and consequential damages in an amount

 to be determined at trial; and

 (b)   GRANT all other relief this Court deems just.

                                   COUNT XVI
                              UNJUST ENRICHMENT
                               Against All Defendants

       (a)    AWARD Allstate its actual and consequential damages in an amount

 to be determined at trial; and

       (b)    GRANT all other relief this Court deems just.




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                         COUNT XVII
         DECLARATORY RELIEF PURSUANT TO 28 U.S.C. § 2201
                     Against All Defendants

       (a)   DECLARE that Allstate has no obligation to pay pending and

 previously denied No-Fault insurance claims submitted by Applied Rehab &

 Physical Therapy LLC d/b/a Applied Rehab, Elite Chiropractic Center, P.C., Core

 Health PLLC, Straightway Transportation LLC, Hussein A. Huraibi, MD, PLLC

 d/b/a Huraibi Pain & Rehab Institute, HS Management LLC, Kallil Kazan, D.C.,

 Naim Khanafer, D.C., Naiel Salameh, D.C., Mohamad Kazan, and Hussein Huraibi,

 M.D. for any or all of the reasons set out in the within Complaint;

       (b)   DECLARE that Applied Rehab & Physical Therapy LLC d/b/a Applied

 Rehab, Elite Chiropractic Center, P.C., Core Health PLLC, Straightway

 Transportation LLC, Hussein A. Huraibi, MD, PLLC d/b/a Huraibi Pain & Rehab

 Institute, HS Management LLC, Kallil Kazan, D.C., Naim Khanafer, D.C., Naiel

 Salameh, D.C., Mohamad Kazan, and Hussein Huraibi, M.D., jointly and severally,

 cannot seek payment from Allstate for benefits under Michigan’s No-Fault Act,

 Mich. Comp. Laws § 500.3101, et seq., any policy of insurance, any assignment of

 benefits, any lien of any nature, or any other claim for payment related to the

 fraudulent conduct detailed in the within Complaint;

       (c)   DECLARE that Applied Rehab & Physical Therapy LLC d/b/a Applied

 Rehab, Elite Chiropractic Center, P.C., Core Health PLLC, Straightway



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 Transportation LLC, Hussein A. Huraibi, MD, PLLC d/b/a Huraibi Pain & Rehab

 Institute, HS Management LLC, Kallil Kazan, D.C., Naim Khanafer, D.C., Naiel

 Salameh, D.C., Mohamad Kazan, and Hussein Huraibi, M.D., jointly and severally,

 cannot balance bill or otherwise seek payment from any person insured under an

 Allstate policy or for whom Allstate is the responsible payor related to the conduct

 detailed in the within Complaint; and

       (d)   GRANT such other relief as this Court deems just and appropriate

 under Michigan law and the principles of equity.

 XVI. DEMAND FOR JURY TRIAL

       The plaintiffs hereby demand a trial by jury on all claims.

                         [SIGNATURE PAGE FOLLOWS]




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                                            Respectfully submitted,

                                            SMITH & BRINK

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 Dated: September 3, 2020




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